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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


WILLIAM COX and MERRILL DILL,
Derivatively on Behalf of Nominal Defendant,
FIFTH THIRD BANCORP,                               CASE NO.
                            Plaintiffs,

              vs.

GREG D. CARMICHAEL, TAYFUN TUZUN,
FRANK FORREST, C. BRYAN DANIELS,
THOMAS H. HARVEY, GARY R. HEMINGER,
JEWELL D. HOOVER, EILEEN A.
MALLESCH, MICHAEL B. MCCALLISTER,
MARSHA C. WILLIAMS, NICHOLAS K.
AKINS, B. EVAN BAYH III, JORGE L.
BENITEZ, KATHERINE B. BLACKBURN,
EMERSON L. BRUMBACK, and JERRY W.
BURRIS,

                            Defendants,

              and

FIFTH THIRD BANCORP

                     Nominal Defendant.

              VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
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          Plaintiffs William Cox and Merrill Dill (“Plaintiffs”), by and through their undersigned

attorneys, submit this Verified Shareholder Derivative Complaint (the “Complaint”) against

defendants named herein. Plaintiffs allege the following based upon information and belief, except

as to those allegations concerning Plaintiffs, which are alleged upon personal knowledge.

Plaintiffs’ information and belief is based upon, among other things, the investigation conducted

by and under the supervision of their counsel which included, among other things: (a) a review

and analysis of regulatory filings filed by Fifth Third Bancorp (“Fifth Third” or the “Company”)

with the United States Securities and Exchange Commission (“SEC”); (b) a review and analysis

of press releases and media reports issued and disseminated by Fifth Third; (c) a review of other

publicly available information concerning Fifth Third, including articles in the news media and

analyst reports; (d) a review of complaints and related materials in litigation commenced against

some or all of the Individual Defendants (defined below) and/or the Company; and (e) applicable

rules and regulations.

                                     SUMMARY OF THE ACTION

          1.      This is a shareholder derivative action brought for the benefit of Nominal

Defendant Fifth Third, a publicly traded company incorporated in Ohio, against current and former

members of the Company’s Board of Directors (the “Board”) and certain of its current executive

officers (collectively, the “Individual Defendants”) for breach of fiduciary duty, unjust enrichment,

and violation of Section 14(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”).

          2.      On March 9, 2020, the Consumer Financial Protection Bureau (“CFPB”) initiated

a lawsuit in the United States District Court Northern District of Illinois Eastern Division against

Fifth Third Bank, National Association (“Fifth Third Bank”).1 The case is docketed as Bureau of



1
    Fifth Third is the indirect parent company of Fifth Third Bank.


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Consumer Financial Protection v. Fifth Third Bank, National Association, Case Number 1:20-cv-

01683 (the “CFPB Action”).

       3.      The CFPB Action alleges, inter alia, that Fifth Third Bank incentivized and

conditioned employment on “ambitious sales goals” and rewarded employees for selling new

products and/or services to existing Fifth Third customers. The CFPB alleges that these sales goals

led to employees opening unauthorized consumer-financial products and services (the

“Unauthorized Accounts”).

       4.      The CFPB further contends that Fifth Third Bank was aware of these Unauthorized

Accounts “since at least 2008”; however, the Company failed to implement and monitor its

incentive program, failed to detect and stop misconduct, and further failed to identify and

remediate harmed consumers.

       5.      In addition to the CFPB Action, the Company and certain of the Company’s

executive officers are subject to a federal securities fraud class action lawsuit pending in the United

States District Court Northern District of Illinois Eastern Division, docketed as Heavy & General

Laborers’ Local 472 & 172 Pension and Annuity Funds et al. v. Fifth Third Bancorp, Greg D.

Carmichael, and Tayun Tuzun, Case Number: 1:20-cv-02176 (N.D. Ill. Apr. 07, 2020) (the

“Securities Class Action”). The Company is also subject to Consumer Class Actions (defined

below).

       6.      The allegations of the Securities Class Action are similar to those contained within

the CFPB Action. Additionally, the Securities Class Action alleges that the Company provided

materially false and misleading statements to investors.

       7.      Demand is futile in this case, as there does not exist a majority of Board members

capable of disinterestedly and independently considering a demand.




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       8.      The Individual Defendants breached their duties of loyalty, care, and good faith by:

(i) failing to implement and enforce a system of effective internal controls and procedures;

(ii) failing to exercise their oversight duties by not monitoring the Company’s compliance with

state and federal laws and the Company’s internal policies and procedures; (iii) consciously

disregarding and failing to ensure that the Company was following proper sales practices, resulting

in the commencement of the CFPB Action and the Securities Class Action; (iv) failing to fully,

fairly, and timely disclose the scope and impact of the improper sales practices taught to and used

by the Company’s employees and managers; (v) failing to timely take corrective action to reduce

and/or eliminate the illegal sales practices taught to and used by the Company’s employees and

managers; (vi) failing to revise the Company’s incentive pay structure to reduce the likelihood of

employees and managers engaging in unlawful sales practices; (vii) making and/or causing the

Company to make false and misleading statements and/or material omissions resulting in the

commencement of the Securities Class Action; (viii) allowing the Company to violate multiple

federal and state laws and regulations; (ix) failing to take appropriate remedial action when the

Board knew, or should have known, that there was pervasive misconduct at the Company; (x)

failing to act in the best interests of the Company and instead acting for their own self-interest; and

(xi) consciously causing substantial damage to the Company’s credibility, corporate image, and

goodwill.

                              JURISDICTION AND VENUE

       9.      This Court has jurisdiction over each defendant named herein.

       10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C.

§ 78n(a)(1) and Rule 14a-9 of the Exchange Act.



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       11.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       12.     Fifth Third is a corporation that conducts business and maintains offices in this

District. The Individual Defendants have sufficient minimum contacts with Illinois and this

District so as to render the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice.

       13.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b). Venue is proper in this Court because a substantial portion of the transactions

and wrongs complained of herein occurred in this District.

                                            PARTIES

       14.     Plaintiff William Cox is currently and has continuously been a stockholder of Fifth

Third since January 20, 2009. Plaintiff is a citizen of the state of Florida.

       15.     Plaintiff Merrill Dill is currently and has continuously been a stockholder of Fifth

Third since July 1, 2012. Plaintiff is a citizen of the state of Pennsylvania.

       16.     Nominal Defendant Fifth Third is incorporated under the laws of Ohio and

maintains its headquarters in Cincinnati, Ohio. The Company was founded in 1858 and currently

operates as a diversified financial services company within the United States. As of June 30, 2019,

the Company operated 1,207 full-service banking centers and 2,551 ATMs in Ohio, Kentucky,

Indiana, Michigan, Illinois, Florida, Tennessee, West Virginia, Georgia, and North Carolina. Fifth

Third is a bank holding company. Fifth Third indirectly holds Fifth Third Bank (defined above).

The Company’s securities trade on NASDAQ under the ticker symbol “FITB”.




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Greg D. Carmichael

       17.    Defendant Greg D. Carmichael (“Carmichael”) is the Company’s Chairman, Chief

Executive Officer (“CEO”), and President. Carmichael was elected Chairman in 2018, and has

served as CEO since November 2015 and President since September 2012. From June 2006 to

September 2012, Carmichael served as the Company’s Chief Operating Officer (“COO”) and

Chief Information Officer (“CIO”) from June 2003 to June 2006. Carmichael has served as a

director of the Company since 2015.

       18.    According to the Company’s DEF 14A Proxy Statement filed on March 4, 2020

(the “2020 Proxy Statement”), as of December 31, 2019, Carmichael beneficially owns 1,336,633

shares of the Company’s common stock.

       19.    According to the Company’s 2020 Proxy Statement, in 2019 Carmichael received

total compensation of $8,999,237. This included $1,100,070 in salary, $4,462,507 in stock awards,

$787,498 in option awards, $2,200,000 in non-equity incentive plan compensation, and $449,162

in other compensation.

       20.    According to the Company’s 2020 Proxy Statement, in 2018 Carmichael received

total compensation of $11,173,652. This included $1,088,531 in salary, $4,887,480 in stock

awards, $862,496 in option awards, $4,100,000 in non-equity incentive plan compensation, and

$235,145 in other compensation.

       21.    According to the Company’s 2020 Proxy Statement, in 2017 Carmichael received

total compensation of $8,688,292. This included $1,000,064 in salary, $4,526,248 in stock awards,

$798,750 in option awards, $2,000,000 in non-equity incentive plan compensation, and $363,230

in other compensation.




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       22.    According to the Company’s 2020 Proxy Statement, the Company’s Compensation

Committee has granted Carmichael the benefit of personal use of the corporate aircraft “up to a

maximum value of $100,000 per year.”

       23.    Carmichael’s corporate biography listed on the Company’s website states the

following regarding Defendant Carmichael:

       Greg D. Carmichael serves as chairman, president and chief executive officer of
       Fifth Third Bancorp, the ninth-largest U.S.-based consumer bank. Since Greg
       became CEO, the Company has grown in assets to $185 billion* and is recognized
       as one of the most innovative banks in the country. It has approximately 20,000
       employees and about 1,123 banking centers across 10 states. Its four main
       businesses are Commercial Banking, Branch Banking, Consumer Lending and
       Wealth & Asset Management. The Bank has commercial and consumer lending
       presence across the United States.

       In more than 16 years of service to the Company, Greg has provided outstanding
       direction and vision, and his leadership has helped drive the Bank’s transformation
       and overall success. Greg joined Fifth Third Bank in June 2003 as executive vice
       president and chief information officer. He was named chief operating officer in
       2006, then president in September 2012. He was appointed to the Board of
       Directors in July 2015, became CEO in November 2015 and was elected chairman
       of the Board in January 2018.

       Before coming to Fifth Third, Greg served for seven years as chief information
       officer for Emerson Electric, a worldwide provider of technology and energy
       solutions. His background also includes leadership roles in information technology
       with General Electric.

       Greg and his wife live in Cincinnati. They have three adult sons.

       Education

       Greg earned a bachelor’s degree in computer science from the University of Dayton
       and a master’s degree from Central Michigan University.

       Professional and Civic

       In January 2020, Greg joined the board of directors of Encompass Health. He also
       serves on the board of trustees of Bethesda Inc. and the boards of directors of the
       American Bankers Association, Cincinnati Business Committee and Ohio Business
       Roundtable Executive Committee. Greg is a member of the Bank Policy Institute’s
       board and BITS, its digital policy forum, and he is president of the Commercial



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          Club of Cincinnati. In 2019, Greg was named to the American City Business
          Journals’ “Influencers: Finance” list of 100 U.S. executives with the biggest impact
          on business.2

Tayfun Tuzun

          24.     Defendant Tayfun Tuzun (“Tuzun”) is the Company’s Chief Financial Officer

(“CFO”) and Executive Vice President. Previously, Tuzun served as the Company’s Treasurer.

Tuzun joined Fifth Third in 2007 as a structured finance manager.

          25.     According to the Company’s 2020 Proxy Statement, Tuzun beneficially owns

329,256 shares of the Company’s common stock.

          26.     According to the Company’s 2020 Proxy Statement, in 2019 Tuzun received total

compensation of $2,797,182. This included $602,913 in salary, $1,215,493 in stock awards,

$214,500 in option awards, $635,000 in non-equity incentive plan compensation, and $129,276 in

other compensation.

          27.     According to the Company’s 2020 Proxy Statement, in 2018 Tuzun received total

compensation of $3,022,286. This included $586,015 in salary, $1,020,011 in stock awards,

$180,000 in option awards, $1,150,000 in non-equity incentive plan compensation, and $86,260

in other compensation.

          28.     According to the Company’s 2020 Proxy Statement, in 2017 Tuzun received total

compensation of $2,713,004. This included $553,426 in salary, $1,190,006 in stock awards,

$209,997 in option awards, $630,000 in non-equity incentive plan compensation, and $129,575 in

other compensation.

          29.     Tuzun’s corporate biography listed on the Company’s website states the following

regarding Defendant Tuzun:



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    https://www.53.com/content/dam/fifth-third/docs/bios/greg-carmichael-bio.pdf.


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          Tayfun Tuzun is executive vice president and chief financial officer, responsible
          for Finance, Treasury, Business Planning and Analysis, Corporate Tax, Investor
          Relations and Accounting for Fifth Third Bancorp.

          He previously served as treasurer, overseeing funding and liquidity, capital
          management, asset liability and balance sheet management, among other roles. He
          was promoted to treasurer in 2011.

          Tayfun joined Fifth Third in 2007 as a structured finance manager and later served
          as assistant treasurer.

          Tayfun began his private-sector career at Provident Bank in Cincinnati as asset
          liability manager in 1993 and worked in various senior positions in treasury and
          finance at that bank. In 2004, upon the sale of Provident Bank to National City, he
          joined FSI Inc., a multiplatform hedge fund specializing in the financial services
          sector. Before joining Provident, he was a faculty member at the University of New
          South Wales in Sydney, Australia.

          He and his wife live in Cincinnati with their two daughters.

          Education

          Tayfun holds both a master’s degree and a doctorate in economics from the Ohio
          State University and a bachelor’s degree in economics from Bosphorus University
          in Istanbul, Turkey.

          Professional and Civic

          Tayfun is a member of the Financial Services Roundtable and is on the board of
          directors of the Cincinnati Shakespeare Company.3

Frank Forrest

          30.     Defendant Frank Forrest (“Forrest”) is the Company’s Special Advisor to the Chief

Executive Officer, as of January 2020. For the six (6) years prior, Forrest served as the Company’s

Chief Risk Officer (“CRO”).

          31.     According to the Company’s 2020 Proxy Statement, Forrest beneficially owns

130,083 shares of the Company’s common stock.




3
    https://www.53.com/content/dam/fifth-third/docs/bios/tayfun-tuzun-bio.pdf.


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       32.    According to the Company’s 2020 Proxy Statement, in 2019 Forrest received total

compensation of $2,495,628. This included $557,010 in salary, $1,020,011 in stock awards,

$179,998 in option awards, $615,000 in non-equity incentive plan compensation, and $123,609 in

other compensation.

       33.    According to the Company’s 2020 Proxy Statement, in 2018 Forrest received total

compensation of $2,894,579. This included $546,092 in salary, $1,020,011 in stock awards,

$180,000 in option awards, $1,055,000 in non-equity incentive plan compensation, and $93,476

in other compensation.

       34.    According to the Company’s 2020 Proxy Statement, in 2017 Forrest received total

compensation of $2,683,044. This included $534,796 in salary, $1,190,006 in stock awards,

$209,997 in option awards, $600,000 in non-equity incentive plan compensation, and $148,245 in

other compensation.

       35.    Forrest’s corporate biography listed on the Company’s website states the following

regarding Defendant Forrest:

       Frank Forrest is executive vice president and serves Fifth Third Bancorp as special
       advisor to the CEO for key regulatory matters. He moved to that role in January
       2020 after serving more than six years as chief risk officer.

       In his previous role, Frank’s responsibilities included development and
       implementation of a risk management framework, risk appetite, risk mitigation
       strategies and key measures across both the enterprise risk organization, as well as
       independent business control teams. Combined, these teams manage compliance,
       model, credit, market, strategic, liquidity, operational and reputational risk matters
       to support balanced, profitable growth.

       Before joining Fifth Third in September 2013, Frank held numerous positions in
       credit and risk management at Bank of America Merrill Lynch, including managing
       director for quality control for mortgage banking, global debt products executive
       and commercial banking risk management executive. Before joining Bank of
       America, Frank worked for eight years at the U.S. Department of the Treasury’s
       Office of the Comptroller of the Currency as a national bank examiner.




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          Education

          Frank earned a bachelor’s degree in accounting and finance from Florida State
          University.

          Professional and Civic

          Frank served from 2010 to 2014 on the Wake Forest University College Board of
          Visitors. For more than 10 years, he served Providence Day School in Charlotte,
          North Carolina, on the board of advisors, board of trustees and, finally, as chairman
          of the board of trustees.4

Bryan Daniels

          36.     Defendant C. Bryan Daniels (“Daniels”) has served as a director of the Company

since 2019. Additionally, Daniels currently serves on the Company’s Risk and Compliance

Committee, as well as the Technology Committee. Previously, Daniels served on the Company’s

Audit Committee.

          37.     According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Daniels beneficially owned 236,931 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Daniels currently holds 208,324.531 shares of the Company’s

common stock.

          38.     According to the Company’s 2020 Proxy statement in 2019 Daniels received

compensation of $176,075. This includes $42,500 in cash and $133,575 in stock awards.

          39.     Daniels is affiliated as a managing member of the sole general partner of Prairie

Capital IV, L.P. and Prairie Capital IV QP, L.P. Daniels has a 2.31% ownership interest in Prairie

Capital IV, L.P. and Prairie Capital IV QP, L.P.

          40.     According to the Company’s 2020 Proxy statement, Daniels is “Co-founder and

principal of Prairie Capital, a Chicago-based private equity firm; Former Senior Vice President of



4
    https://www.53.com/content/dam/fifth-third/docs/bios/frank-forrest-bio.pdf.


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Commercial Banking at National Bank and Trust Company; Former Director of MB Financial,

Inc.; Former Director of Taylor Capital.”

          41.     Daniels corporate biography listed on Prairie Capital’s website states the following

regarding Defendant Daniels:

          FOUNDED PRAIRIE:

          1997

          EDUCATION:
          Wabash College
          (BA in Mathematics and Chemistry, Magna Cum Laude)
          University of Chicago
          (MBA and MS in Computer Science)

          EXPERIENCE

          Bryan co-founded Prairie Capital in 1997 and currently serves as a Partner of the
          firm. Prior to Prairie, Bryan was a Senior Vice President of commercial banking at
          American National Bank & Trust Company, an $8 billion subsidiary of Bank One
          (now part of JP Morgan Chase). Overseeing more than $70 million in preferred
          stock investments in this division, he also served on the Investment Committee of
          ANB Mezzanine.

          OTHER

          Bryan sits on the Board of Directors for Fifth Third Bancorp. Bryan is also a
          Visiting Committee Member of the Physical Sciences Department at the University
          of Chicago, which fosters dialogue and creates links with the broader community.
          Bryan supports two Chicago Area schools that specialize in education for bright
          students with learning differences: 1) Wolcott, a college-prep high school, and 2)
          Hyde Park Day School, a first through eighth grade school. He lives with his wife
          and three children in Winnetka, IL.5

Thomas H. Harvey

          42.     Defendant Thomas H. Harvey (“Harvey”) has served as a director of the Company

since 2019. Additionally, Harvey serves on the Company’s Audit Committee, Nominating and

Corporate Governance Committee, and Technology Committee. Previously, Harvey served on the



5
    https://www.prairie-capital.com/portfolio/bryan-daniels/.


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Company’s Risk and Compliance Committee.

       43.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Harvey beneficially owned 178,418 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Harvey beneficially owns 188,968.2 shares of the Company’s

common stock.

       44.    According to the Company’s 2020 Proxy Statement, in 2019 Harvey received total

compensation of $176,075. This included $42,500 in cash and $133,575 in stock awards.

       45.    According to the Company’s 2020 Proxy Statement Harvey is “Chief Executive

Officer of Energy Innovation: Policy and Technology, LLC; Managing Partner and Principal

Owner, Ajax LLC; Former Chairman of the Board of Directors of MB Financial, Inc.; Former

CEO of ClimateWorks Foundation; Former Environment Program Director of the William and

Flora Hewlett Foundation; Former President of Energy Foundation.”

       46.    The Company’s 2020 Proxy Statement stated the following about Defendant

Harvey:

       Mr. Harvey’s qualifications for services as a director include 25 years of experience
       in the financial services industry. His experience in executive positions with
       multiple foundations and other organizations provides him with strong
       organizational and leadership skills and extensive investment experience and
       makes him particularly well-suited to serve on Fifth Third’s Board of Directors.
       Mr. Harvey als rience with the emergence and growth of technology in the banking
       industry.

Gary R. Heminger

       47.    Defendant Gary R. Heminger (“Heminger”) has served as a director of the

Company since 2006. Additionally, Heminger serves as chairman of the Finance Committee and

also serves on the Human Capital and Compensation Committee, as well as the Risk and

Compliance Committee.       Previously, Heminger served on the Nominating and Corporate

Governance Committee.


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       48.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Heminger beneficially owned 52,934 shares of the Company’s common stock. According to a

SEC Form 4 filed on April 16, 2020, Heminger beneficially owns 76,502.203 shares of the

Company’s common stock.

       49.    According to the Company’s 2020 Proxy Statement, in 2019 Heminger received

total compensation of $265,000. This included $140,000 in cash and $125,000 in stock awards.

       50.    According to the Company’s 2020 Proxy Statement, Heminger is “CEO and Chair

of Marathon Petroleum Corporation; Chair and former CEO of MPLX GP LLC (the general

partner of MPLX LP); MPLX LP is a consolidated master limited partnership formed by Marathon

Petroleum Corporation; Director at PPG Industries, Inc.”

       51.    The Company’s 2020 Proxy Statement stated the following about Defendant

Heminger:

       Mr. Heminger’s qualifications for service as a director include valuable business
       knowledge gained from his responsibilities in overseeing all operations,
       performance, reporting, and financial metrics for Marathon’s refining, marketing,
       transportation, and Speedway business. He has financial experience through his
       oversight of all financial data, working capital, and merger and acquisition activity.

       *On October 31, 2019, Marathon Petroleum Corporation announced Mr.
       Heminger’s plans to retire as Chairman and Chief Executive Officer of Marathon
       Petroleum Corporation and as Chairman of MPLX GP LLC to be effective at the
       conclusion of Marathon Petroleum Corporation’s 2020 Annual Meeting scheduled
       for April 29, 2020. Mr. Heming for reelection to the Marathon Petroleum
       Corporation Board of Directors at the 2020 Annual Meeting.

Jewell D. Hoover

       52.    Defendant Jewell D. Hoover (“Hoover”) has served as a director of the Company

since 2009. Additionally, Hoover serves on the Company’s Audit Committee, as well as the Risk

and Compliance Committee. Previously, Hoover served as the chairwoman of the Company’s




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Risk and Compliance Committee and also previously served on the Company’s Finance

Committee.

       53.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Hoover beneficially owned 44,876 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Hoover beneficially owns 57,976.925 shares of the Company’s

common stock.

       54.    According to the Company’s 2020 Proxy Statement, in 2019 Hoover received total

compensation of $265,000. This included $140,000 in cash and $125,000 in stock awards.

       55.    According to the Company’s 2020 Proxy Statement, Hoover is a “Retired Senior

Official with the Office of the Comptroller of the Currency; Author of the “Ultimate Guide for

Bank Directors”; Former Director of First Charter Corporation; Principal with the bank consulting

firm Hoover and Associates, LLC until 2014.”

       56.    The Company’s 2020 Proxy Statement stated the following about Defendant

Hoover:

       Ms. Hoover’s qualifications for service as a director include 28 years of service
       with the Office of the Comptroller of the Currency, including service as the Deputy
       Comptroller of the agency’s Western District. Ms. Hoover also has gained valuable
       banking experience and knowledge as a bank consultant for corporate governance,
       director training, and problem bank resolution matters. Additionally, she has first-
       hand knowledge of Fifth Third through her service as a director of its North
       Carolina affiliate and a predecessor banking organization. Ms. Hoover is also a
       National Association of Corporate Directors (“NACD”) Board Leadership Fellow.

Eileen A. Mallesch

       57.    Defendant Eileen A. Mallesch (“Mallesch”) has served as a director of the

Company since 2016. Additionally, Mallesch serves as the chairwoman of the Company’s Audit

Committee, and serves on the Finance Committee, Human Capital and Compensation Committee,

and Risk and Compliance Committee.



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       58.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Mallesch beneficially owned 16,241 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Mallesch beneficially owns 23,541.47 shares of the Company’s

common stock.

       59.    According to the Company’s 2020 Proxy Statement, in 2019 Mallesch received

total compensation of $220,000. This included $95,000 in cash and $125,000 in stock awards.

       60.    According to the Company’s 2020 Proxy Statement, Mallesch is a “Certified Public

Accountant, Retired Senior Vice President & Chief Financial Officer of Nationwide Property &

Casualty Segment, Nationwide Mutual Insurance Company; Former Senior Vice President & CFO

for Genworth Financial Life Insurance/Service Co.; Currently serves on Board of Directors for

Brighthouse Financial, Libbey, Inc., and State Auto Financial Corp., and previously served as

Director for Bob Evans Farms, Inc.”

       61.    The Company’s 2020 Proxy Statement stated the following about Defendant

Mallesch:

       Ms. Mallesch’s qualifications for service as a director include financial
       management experience from her roles as Chief Financial Officer for both
       Nationwide Mutual Insurance Company and Genworth Financial Life
       Insurance/Service Co. She has more than 25 years of broad finance and strategy
       experience in a variety of industries, ranging from insurance and
       telecommunications to consumer products and manufacturing. In addition, Ms.
       Mallesch brings vast knowledge in enterprise resource planning and large-scale
       technology integrations, strategic planning, and managing acquisitions,
       divestitures, and risk and compliance management. Ms. Mallesch is also a National
       Association of Corporate Directors (“NACD”) Governance Fellow.

Michael B. McCallister

       62.    Defendant Michael B. McCallister (“McCallister”) has served as a director of the

Company since 2011. Additionally, McCallister serves as chairman of the Human Capital and

Compensation Committee, and also serves on the Finance Committee and the Audit Committee.



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       63.     According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

McCallister beneficially owned 48,025 shares of the Company’s common stock. According to a

SEC Form 4 filed on April 16, 2020, McCallister beneficially owns 59,566.826 shares of the

Company’s common stock.

       64.     According to the Company’s 2020 Proxy Statement, in 2019 McCallister received

total compensation of $235,000. This included $110,000 in cash and $125,000 in stock awards.

       65.     According to the Company’s 2020 Proxy Statement, McCallister is “Retired Chair

of the Board of Directors of Humana, Inc.; Previous Chief Executive Officer of Humana Inc. from

February 2000 to December 2012; Humana board member in February 2000 and Chair of the

Board from August 2010 until December 2013; Mr. McCallister joined Humana in June 1974;

Current Director of AT&T Inc. and of Zoetis Inc.”

       66.     The Company’s 2020 Proxy Statement stated the following about Defendant

McCallister:

       Mr. McCallister’s qualifications for service as a director include 39 years of
       experience in the health care sector at Humana, Inc. combined with an intimate
       knowledge of Humana’s operational, financial, and strategic development. Beyond
       Humana, Mr. McCallister plays a leadership role in key business advocacy
       organizations. He served on the board of the Business Roundtable and is the past
       chair of the organization’s Health and Retirement Task Force.

Marsha C. Williams

       67.     Defendant Marsha C. Williams (“Williams”) has served as a director of the

Company since 2008. Additionally, Williams serves on the Company’s Finance Committee,

Human Capital and Compensation Committee, and Nominating and Corporate Governance

Committee. Previously, Williams served on the Company’s Audit Committee, as well as the Risk

and Compliance Committee.




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       68.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Williams beneficially owned 64,550 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Williams beneficially owns 77,508.939 shares of the Company’s

common stock.

       69.    According to the Company’s 2020 Proxy Statement, in 2019 Williams received

total compensation of $300,000. This included $150,000 in cash and $150,000 in stock awards.

       70.    According to the Company’s 2020 Proxy Statement, Williams is a “Retired Senior

Vice President & Chief Financial Officer of Orbitz Worldwide, Inc from July 2007 to December

2010; Executive Vice President & Chief Financial officer of Equity Office Properties Trust from

2002 to 2007; Director of McDermott International, Inc.; Lead Independent Director of Modine

Manufacturing Company; Director of the Davis Funds; former Supervisory Director of Chicago

Bridge & Iron Company N.V.. which merged into McDermott International, Inc. in 2018.”

       71.    The Company’s 2020 Proxy Statement stated the following about Defendant

Williams:

       Ms. Williams’s qualifications for service as a director include her extensive
       experience in financial matters including 42 years in finance and her service as the
       Chief Financial Officer of Orbitz and Equity Office Properties Trust as well as her
       service on the board of directors of other publicly traded corporations and mutual
       funds. Ms. Williams also possesses knowledge and experience in the financial
       services industry gained through her 15 years of service with other banking
       organizations.

Nicholas K. Akins

       72.    Defendant Nicholas K. Akins (“Akins”) has served as a director of the Company

since 2013. Additionally, Akins serves as the chairman of the Company’s Nominating and

Corporate Governance Committee and is a member of the Company’s Finance Committee and

Technology Committee.      Previously, Akins served on the Company’s Human Capital and

Compensation Committee.


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       73.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Akins beneficially owned 31,455 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Akins beneficially owns 38,494.826 shares of the Company’s

common stock.

       74.    According to the Company’s 2020 Proxy Statement, in 2019 Akins received total

compensation of $230,000. This included $105,000 in cash and $125,000 in stock awards.

       75.    According to the Company’s 2020 Proxy Statement, Akins is “Chair, President, &

Chief Executive Officer of American Electric Power Company.”

       76.    The Company’s 2020 Proxy Statement stated the following about Defendant Akin:

       Mr. Akins’ qualifications for service as a director include business expertise as the
       Chief Executive Officer of a large, multi- state electric utility where he focuses on
       local operating utilities, community involvement, government relations, and
       regulations at the state, local, and federal levels. Mr. Akins has experience in all
       facets of operational, financial, and compliance-related activities in a heavily
       regulated business and industry. He also has experience overseeing cyber-related
       activities in business systems and critical infrastructure.

B. Evan Bayh III
       77.    Defendant B. Evan Bayh III (“Bayh”) has served as a director of the Company since

2011. Additionally, Bayh serves on the Company’s Nominating and Corporate Governance

Committee, as well as the Company’s Technology Committee. Previously, Bayh served on the

Company’s Risk and Compliance Committee.

       78.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Bayh beneficially owns 23,981 shares of the Company’s common stock.

       79.    According to the Company’s 2020 Proxy Statement, in 2019 Bayh received total

compensation of $220,000. This included $95,000 in cash and $125,000 in stock awards.

       80.    According to the Company’s 2020 Proxy Statement, Bayh is “Senior Advisor to

the private equity firm, Apollo Global Management; Board of Directors for Marathon Petroleum


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Corporation, Berry Global Group, Inc., and RLJ Lodging Trust. Previously, Mr. Bayh served as

Governor of Indiana, as a United States Senator, and as a Partner with the law firms

McGuireWoods LLP and Cozen O’Connor.”

       81.    The Company’s 2020 Proxy Statement stated the following about Defendant Bayh:

       Mr. Bayh’s qualifications for service as a director include two decades of
       experience in government service. First as Governor of Indiana and then in the
       United States Senate, Mr. Bayh dealt with a variety of financial, economic, and
       policy issues that impact a wide variety of businesses. He had supervisory authority
       over thousands of employees and oversaw a budget in excess of $10 billion. As a
       member of the Senate Banking Committee and Chair of the International Trade and
       Finance Subcommittee, Mr. Bayh gained perspective on issues of particular
       relevance to Fifth Third Bancorp. He also has extensive knowledge of cybersecurity
       issues as e Committee and Central Intelligence Agency External Advisory Board.

Jorge L. Benitez

       82.    Defendant Jorge L. Benitez (“Benitez”) has served as a director of the Company

since 2015. Additionally, Benitez is the chairman of the Company’s Technology Committee and

serves on the Company’s Finance Committee and Nominating and Corporate Governance

Committee. Previously, Benitez served on the Company’s Audit Committee, as well as the Risk

and Compliance Committee.

       83.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Benitez beneficially owned 19,276 shares of the Company’s common stock. According to a SEC

Form 4 filed on April 16, 2020, Benitez beneficially owns 26,856 shares of the Company’s

common stock.

       84.    According to the Company’s 2020 Proxy Statement, in 2019 Benitez received total

compensation of $230,000. This included $105,000 in cash and $125,000 in stock awards.

       85.    According to the Company’s 2020 Proxy Statement, Benitez is a “Retired Chief

Executive Officer of North America of Accenture; Director of World Fuel Services Corporation.




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Previously, from September 2006 to August 2011, Mr. Benitez served as Chief Operating Officer

of Accenture’s Products Operating Group.”

       86.     The Company’s 2020 Proxy Statement stated the following about Defendant

Benitez:

       Mr. Benitez’s qualifications for service as a director include extensive experience
       developing and executing business strategies across a range of industries,
       particularly consumer products and travel and transportation services. He also has
       significant experience implementing large-sale systems integration programs, as
       well as experience running operating units within a large multinational publicly-
       traded corporation.

Katherine B. Blackburn

       87.     Defendant Katherine B. Blackburn (“Blackburn”) has served as a director of the

Company since 2014. Additionally, Blackburn serves on the Company’s Audit Committee and

the Nominating and Corporate Governance Committee. Previously, Blackburn served on the

Company’s Risk and Compliance Committee.

       88.     According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Blackburn beneficially owned 45,807 shares of the Company’s common stock. According to a

SEC Form 4 filed on April 16, 2020, Blackburn beneficially owns 111,734.12 shares of the

Company’s common stock.

       89.     According to the 2020 Proxy Statement, in 2019 Blackburn received total

compensation of $220,000. This included $95,000 in cash and $125,000 in stock awards.

       90.     According to the Company’s 2020 Proxy Statement, Blackburn is “Executive Vice

President of the Cincinnati Bengals, Inc.”

       91.     As disclosed in the Company’s 2020 Proxy Statement:

       One of our directors, Katherine B. Blackburn, is the Executive Vice President of
       the Cincinnati Bengals professional football team. She and members of her
       immediate family own substantially all of the equity interests in the parent company
       of the Cincinnati Bengals. During 2019, we paid the Cincinnati Bengals


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       approximately $1.8 million for sponsorship arrangements, tickets, and advertising
       expenses. Prior to Ms. Blackburn’s appointment to the Board in September 2014,
       Fifth Third and the Cincinnati Bengals signed a five-year contract extension for
       these arrangements that calls for total payments by Fifth Third Bancorp during that
       period of over $7.9 million. By virtue of Ms. Blackburn’s being an executive officer
       and a principal owner is deemed to be a related party having a direct material
       interest in these arrangements.

       92.    The Company’s 2020 Proxy Statement stated the following about Defendant

Blackburn:

       Ms. Blackburn’s qualifications for service as a director include business experience
       in running operations for the Cincinnati Bengals professional football franchise.
       She has extensive experience with human resource and personnel matters, cost and
       efficiency management, and business negotiations. Ms. Blackburn also has
       extensive experience with management of diversity and inclusion initiatives for
       large organizations through her role on the National Football League’s Diversity
       Committee. Additionally, Ms. Blackburn holds a law degree and brings to the
       Board knowledge and familiarity of Fifth Third and the City of Cincinnati.

Emerson L. Brumback

       93.    Defendant Emerson L. Brumback (“Brumback”) has served as a director of the

Company since 2009. Additionally, Brumback serves as the chairman of the Company’s Risk and

Compliance Committee, and serves on the Company’s Finance Committee and the Human Capital

and Compensation Committee. Previously, Brumback served as the chairman of the Audit

Committee and served on the Company’s Finance Committee.

       94.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Brumback beneficially owned 55,981 shares of the Company’s common stock. According to a

SEC Form 4 filed on April 16, 2020, Brumback beneficially owns 66,471 shares of the Company’s

common stock.

       95.    According to the Company’s 2020 Proxy Statement, in 2019 Brumback received

total compensation of $255,000. This included $130,000 in cash and $125,000 in stock awards.




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       96.    According to the Company’s 2020 Proxy Statement, Brumback is a “Retired

President & Chief Operating Officer of M&T Bank; Former Director of M&T Bank Corporation;

Vice Chair of the Board of the Ascendium Education Group.”

       97.    The Company’s DEF 14A Proxy Statement filed on March 6, 2019 (the “2019

Proxy Statement”) stated the following about Defendant Russell:

       Mr. Brumback’s qualifications for service as a director include banking expertise
       through his 30 years of experience in the financial services industry with several
       banking organizations. He has gained valuable insight through his experience in
       executive positions overseeing many aspects of the banking field, including retail
       banking, commercial banking, banking operations, and systems. Mr. Brumback
       also brings his experience as a former board member with another financial services
       company.

Jerry W. Burris

       98.    Defendant Jerry W. Burris (“Burris”) served as a director of the Company from

2016 until resigning in June 2020. Additionally, Burris previously served on the Company’s Audit

Committee and the Company’s Risk and Compliance Committee.

       99.    According to the Company’s 2020 Proxy Statement, as of December 31, 2019,

Burris beneficially owns 10,670 shares of the Company’s common stock.

       100.   According to the Company’s 2020 Proxy Statement, in 2019 Burris received total

compensation of $130,000. This included $105,000 in cash and $125,000 in stock awards.

       101.   According to the Company’s 2020 Proxy Statement, Burris is “President and Chief

Executive Officer of Midwest Can & Container Specialties Company; Former President & Chief

Executive Officer of Associated Materials Group, Inc.; Previous Division President of General

Electric; Current Director of nVent PLC and former Director of Pentair PLC.”

       102.   On June 16, 2020, Fifth Third filed a Current Report on Form 8-K with the SEC

(the “June 2020 8-K”). The June 2020 8-K stated, in relevant part:




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          On June 15, 2020, Jerry W. Burris notified the Board of Directors (the “Board”) of
          Fifth Third Bancorp (the “Company”) of his resignation as a director of the
          Company. Mr. Burris’ resignation was due to scheduling conflicts with Board
          meeting dates that have arisen in relation to his expanding responsibilities as the
          Chief Executive Officer of Midwest Can Company and was not the result of any
          dispute or disagreement with the Company on any matter relating to its operations,
          policies, or practices.

          103.   The Company’s 2020 Proxy Statement stated the following about Defendant

Burris:

          Mr. Burris’ qualifications for service as a director include management expertise as
          the President and Chief Executive Officer of Associated Materials and as a division
          president with General Electric. Mr. Burris’s expertise includes strong technical
          marketing skills, a sound understanding of how to best integrate technology, rapid
          innovation, mergers and acquisitions, and cost and efficiency management. He also
          brings experience from his service on a public company board’s compensation and
          governance and audit committees.

          104.   The Company’s current Board is comprised of fifteen (15) directors: Defendants

Carmichael, Daniels, Harvey, Heminger, Hoover, Mallesch, McCallister, Williams, Akins, Bayh,

Benitez, Blackburn, and Brumback, and non-parties Mitchell S. Feiger (“Feiger”) and Linda W.

Clement-Holmes (“Clement-Holmes”).

          105.   Defendants Carmichael, Tuzun, Forrest, Daniels, Harvey, Heminger, Hoover,

Mallesch, McCallister, Williams, Akins, Bayh, Benitez, Blackburn, Brumback, and Burris are

sometimes collectively referred to herein as the “Individual Defendants.”

                 FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

          106.   By reason of their positions as officers, directors, and/or fiduciaries of Fifth Third

and because of their ability to control the business and corporate affairs of the Company, the

Individual Defendants owed Fifth Third and its shareholders fiduciary obligations of loyalty, care

and good faith, and were and are required to use their utmost ability to control and manage the

Company in a fair, just, honest, and equitable manner. The Individual Defendants were and are




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required to act in furtherance of the best interests of Fifth Third and its shareholders to benefit all

shareholders equally and not in furtherance of their personal interest or benefit.

       107.    Each director and officer of the Company owes to Fifth Third and its shareholders

the fiduciary duty to exercise good faith and diligence in the administration of the Company’s

affairs and in the use and preservation of its property and assets, and the highest obligations of fair

dealing.

       108.    The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Fifth Third, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein, as well as the contents of various public

statements issued by the Company. Due to their positions with Fifth Third, each of the Individual

Defendants had knowledge of material non-public information regarding the Company.

       109.    To discharge their duties, the Individual Defendants were required to exercise

reasonable and prudent supervision over the management, policies, practices, and controls of the

Company. By virtue of such duties, the officers and directors of Fifth Third were required to,

among other things:

               a.      Exercise good faith to ensure that the affairs of the Company were

                       conducted in an efficient, business-like manner to make it possible to

                       provide the highest quality performance of their business;

               b.      Exercise good faith to ensure that the Company was operating in a diligent,

                       honest and prudent manner and complied with all applicable federal, state

                       and foreign laws, rules, regulations and requirements, and all contractual

                       obligations, including acting only within the scope of its legal authority;




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                  c.     Exercise good faith in supervising the preparation, filing and/or

                         dissemination of financial statements, press releases, audits, reports or other

                         information required by law, and in examining and evaluating any reports

                         or examinations, audits, or other financial information concerning the

                         financial condition of the Company;

                  d.     Refrain from unduly benefiting themselves and other Company insiders at

                         the expense of the Company; and

                  e.     When put on notice of problems with the Company’s business practices and

                         operations, exercise good faith in taking appropriate action to correct the

                         misconduct and prevent its recurrence.

       110.       Moreover, Fifth Third’s board of directors adopted a Code of Business Conduct

and Ethics (“Code”). The Code “applies to all officers, directors, employees and contractors of

Fifth Third Bancorp, our subsidiaries and our affiliates. Anyone who violates the spirit or letter

of the Code may face disciplinary action, up to and including termination.”

       111.       The Code identifies Fifth Third’s Core Values Test and instructs officers, directors,

employees, and contractors to ask the questions listed below if uncertainty arises regarding a

certain action:

                  1.     Is the action legal?
                  2.     Does it comply with our Code of Business Conduct & Ethics and
                         related policies?
                  3.     Does it reflect our core values?
                  4.     Would I be comfortable if I read about it in the news?
                  5.     Would it be ok if my manager or other employees did it?
                  6.     Would it keep Fifth Third and our shareholders from experiencing
                         loss, harm, or unnecessary risk?
                  7.     Does it feel like the right thing to do?




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       112.    The Code further states, in relevant part:

       Fifth Third Bancorp is committed to minimizing the impact of internal and external
       fraud to both Fifth Third and our customers. Every employee at every level of the
       Bancorp is accountable and expected to do their part to protect Fifth Third
       and our customers from fraudulent activity. There is zero tolerance for internal
       fraud within Fifth Third’s organization and internal fraudulent activity must be
       referred to Bank Protection when suspected. Failure to report fraudulent activity
       exposes Fifth Third to regulatory and compliance violations and could lead to
       significant financial penalties and additional fraud losses.

(Emphasis added).

       113.    The Company also has an Audit Committee, a Human Capital and Compensation

Committee, a Finance Committee, a Nominating and Corporate Governance Committee, a Risk

and Compliance Committee, and a Technology Committee. Each committee has a respective

charter to govern the committee members’ duties and responsibilities.

       114.    The Audit Committee serves in this role for both Fifth Third and Fifth Third Bank.

       115.    The Audit Committee Charter states the following, in part:

       The Committee’s primary purposes are to:

              Oversee the accounting and financial reporting processes of the Corporation
               and the audits of the financial statements of the Corporation.

              Provide assistance to the Corporation’s Board by monitoring:

               1.     the integrity of the financial statements of the Corporation,
               2.     the independent auditors’ qualifications and independence,
               3.     the performance of the Corporation’s and its subsidiaries’ internal
                      audit function and independent auditors,
               4.     the Corporation’s system of internal controls, and
               5.     the Corporation’s financial reporting and system of disclosure
                      controls.

              Provide assistance to the Bank’s Board by monitoring:

               1.     the integrity of the financial statements of the Bank,
               2.     the Bank’s system of internal controls,
               3.     the Bank’s financial reporting, and




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         4.     the compliance by the Bank with applicable legal and regulatory
                requirements

        Prepare the Committee report required by the rules of the SEC to be
         included in the Corporation’s annual proxy statement
                                   *       *        *
  D. Bank Financial Reporting / Internal Controls

        Review, discuss with management (and, if deemed necessary, the internal
         and external auditors) and approve the Bank’s financial statements, any
         reports required by the Bank’s State of incorporation, and the Bank’s
         representations made to the Corporation regarding the same.

        Discuss with management (and, if deemed necessary, the internal and
         external auditors) significant financial reporting issues and significant
         accounting policies and judgments made in connection with the preparation
         of the Bank’s financial statements and call reports, including any significant
         changes in the Bank’s selection or application of accounting principles.

        Discuss with management and the internal auditors the effect of regulatory
         and accounting initiatives and off-balance sheet transactions on the Bank’s
         financial statements and any necessary disclosures related thereto.

        Review all material written communication between the independent
         auditors and Bank management.

        Discuss with the Bank’s internal auditors and management their
         assessments of the adequacy of the Bank’s internal controls, including
         an assessment of whether management is diligently resolving any
         internal control weaknesses.

        Review with management and the independent auditors the basis for the
         reports, if any, required to be filed by management and by the independent
         auditors with the FDIC pursuant to 12 C.F.R. Sections 363.2 (a) and (b) and
         Sections 363.3 (a) and (b), respectively.

        Discuss with the Bank’s internal auditors and management any
         weaknesses or deficiencies that any of the foregoing have identified
         relating to financial reporting, internal controls or other related
         matters and management’s proposals for rectifying such weaknesses or
         deficiencies, including the prevention or detection of management
         override or compromise of the internal control system.




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        Monitor the Bank’s progress in promptly addressing and correcting any and
         all identified weaknesses or deficiencies in financial reporting, internal
         controls or related matters.

        Discuss with management, the Risk and Compliance Joint Committee and
         the internal auditors the Bank’s compliance with applicable laws and
         regulations and from time to time advise the Bank’s Board of Directors with
         respect to the same.

        Work with the Risk and Compliance Joint Committee to ensure that any and
         all audit related deficiencies identified in any audit, Supervisory Issue or
         Order are properly addressed and that the Audit Committee is informed of
         management’s progress in responding to any audit, Supervisory Issue or
         Order.
                                  *       *       *
     H. Compliance Oversight

        Review procedures designed to identify related party transactions that are
         material to the financial statements or otherwise require disclosure.

        Establish procedures and require the Corporation to obtain or provide the
         necessary resources and mechanisms for (i) the receipt, retention and
         treatment of complaints received by the Corporation regarding accounting,
         internal accounting controls or auditing matters, and (ii) the confidential,
         anonymous submission by employees of the Corporation of concerns
         regarding questionable accounting or auditing matters.

        Discuss with management and the independent auditors any
         correspondence with regulators or governmental agencies and any
         employee complaints or published reports which raise material issues
         regarding the Corporation’s financial statements or accounting
         policies.

        Discuss with the Corporation’s General Counsel and Chief Risk Officer
         legal matters that may have a material impact on the financial statements
         and that may have an impact on the Corporation’s compliance policies.

        Oversee the administration of the Corporation’s Code of Business
         Conduct and establish an enforcement mechanism for the
         Corporation's Code of Business Conduct and Ethics.

        Consider any material waivers of the Corporation's Code of Business
         Conduct and recommend to the Board of Directors of the Corporation
         whether or not to grant such waiver.



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                Receive and review reporting regarding calls to the Corporation’s
                 Ethics Line.

(Emphasis added).

          116.   The Human Capital and Compensation Committee Charter states the following, in

part:

          The Committee's primary purposes are to:
                Discharge the Corporation’s responsibilities relating to the compensation of
                 the Corporation’s Executive Officers. The Committee has overall
                 responsibility for overseeing the benefit, bonus, incentive compensation,
                 severance, equity-based or other compensation plans, policies and programs
                 of the Corporation and its subsidiaries.

                Oversee management’s development and implementation of the incentive
                 compensation strategy for the Corporation.

                Oversee the incentive compensation plans, policies and programs
                 encompassing those employees of the Corporation and its subsidiaries who,
                 either individually or as part of a group, have the ability to expose the
                 Corporation to material risk (“Covered Employees”).

                Implement Chief Executive Officer (“CEO”) succession planning.

                Make recommendations regarding director compensation to the Board of
                 Directors.

                Prepare the annual report on executive compensation for inclusion in the
                 Corporation’s proxy statement, including review and discussion of the
                 Compensation Discussion & Analysis with Management and disclosure of
                 whether the Committee has retained or obtained the advice of a
                 compensation consultant and if the work of the compensation consultant has
                 raised any conflict of interest and, if so, the nature of the conflict and how
                 it is being addressed.

          117.   The Finance Committee Charter states the following, in part:

          The Committee's primary purpose is to exercise, during the intervals between the
          meetings of the Board of Directors, all the powers of the Board of Directors of the
          Corporation and the Bank in the management of the business, properties and affairs
          of the Corporation and the Bank that may be permissibly exercised by a committee
          thereof.




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       118.    The Nominating and Corporate Governance Committee Charter states the

following, in part:

       The Committee's primary purposes are to:

              Develop and recommend to the Board of Directors corporate governance
               policies and guidelines for the Corporation and for identifying and
               nominating director and committee member candidates; and

              Nominate directors for election to the Board of Directors and recommend
               appointment to committee membership.

       119.    The Risk and Compliance Committee Charter states the following, in part:

       The Committee’s sole and exclusive function is responsibility for the risk
       management policies of the Corporation’s and the Bank’s global operation
       and oversight of its global risk management framework. In furtherance of this
       function, the Committee shall:

              Oversee management’s compliance with all of Fifth Third’s regulatory
               obligations arising under applicable federal and state banking laws,
               rules and regulations;

              Oversee management’s development and implementation of the global Risk
               Management Framework (“Framework”), inclusive of the risk appetite,
               with an enterprise view of risk capacity, risk tolerances, risk limits, and key
               risk indicators which are integral components of the Framework. In
               addition, the Framework includes consistent processes for identifying,
               assessing, managing, monitoring and reporting risks of all types, including
               the categories of credit risk, market risk, liquidity risk, operational risk,
               regulatory compliance risk, legal risk, reputation risk and strategic risk;

              Oversee the fiduciary activities and fiduciary policies of the
               Corporation and its bank subsidiaries; and

              Ensure that risk processes are supported by a risk governance structure that
               includes oversight by the Boards of Directors of the Corporation and the
               Bank, policies, risk limits, and risk committees, and further by a culture that
               supports risk management objectives and reflects appropriate accountability
               by all lines of defense.

              Oversee the Company’s supervisory issues and enforcement actions and the
               Corporation’s efforts to remediate them.

                                      *      *        *


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  5. Operational Risk

        Develop and maintain an Operational Risk Management Policy (the “OR
         Policy”), which shall be discussed by the Committee with management.
         Following such discussion, and after taking into consideration any matters
         as the Committee may deem advisable and appropriate, including
         management’s recommendation, the Committee shall annually recommend
         the OR Policy to the Boards of Directors of the Corporation and the Bank
         for approval. In addition, the Committee may authorize management to
         develop and implement any additional detailed policies and procedures
         relating to operational risk as may be consistent with the OR Policy.

        Review management reports relating to operational risk issues in areas
         including but not limited to: fraud; development of material products
         and services; execution, delivery and process management; acquisition
         integration issues; technology risks and technology strategies; cybersecurity
         incidents and privacy breaches; business disruption and system failures; and
         business practices generally.

  6. Legal Risk

        Management shall develop and maintain a Legal Risk Management Policy
         (the “Legal Risk Policy”), which policy shall be discussed by the
         Committee with management. Following such discussion, and after taking
         into consideration any matters as the Committee may deem advisable and
         appropriate, including management’s recommendation, the Committee
         shall annually recommend the Legal Risk Policy to the Boards of Directors
         of the Corporation and the Bank for approval. In addition, the Committee
         may authorize management to develop and implement any additional
         detailed policies and procedures relating to legal risk as may be consistent
         with the Legal Risk Policy.

        Review management reports relating to legal risk issues in areas
         including but not limited to: material litigation, legal settlements and
         defense complaints.
                                   *      *       *
  10. Fiduciary Activities

         Exercise general supervision over the exercise of the trust and other
         fiduciary powers of the Corporation, the Bank and their subsidiaries. In this
         capacity, the Committee will review and approve new trust accounts
         identified under the Corporation’s policies as high-risk accounts and
         business initiatives by the wealth and asset management division. In
         discharging their responsibilities, the Committee shall review periodic




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               reports from designated management committees regarding the fiduciary
               activities of the Bank and other subsidiaries.

              Oversee of the fiduciary structure of the Corporation. In this regard, the
               Committee shall review and approve the policies and controls for each
               subsidiary including the Bank. The Committee shall review the reports from
               the management committees identifying significant trust and other fiduciary
               issues including internal audit results, internal compliance reports, internal
               investment reviews, regulatory exam results and material litigation.

(Emphasis added).

       120.    The Technology Committee Charter states, in part:

       The Committee's primary purpose is to assist the Boards of Directors in their
       oversight of technology and innovation strategies, plans and operations,
       information, cybersecurity and data privacy risk management and third party
       technology risk management.
                                          *       *       *
       C. Information, Cybersecurity and Data Privacy Risk Management

              Receive reports from members of management, including, but not limited
               to, the Chief Information Officer, the Chief Risk Officer, the Chief
               Information Security Officer, Chief Data Officer, and other officers or
               employees as appropriate, regarding the Corporation’s practices,
               management and functioning of technology operations and information
               security, cybersecurity and data privacy risks, including reports related to
               the assessment, analysis, and mitigation of related risk.

              Review or discuss, as and when appropriate, the Corporation’s technology
               policies, standards, and controls

       121.    Each Individual Defendant, by virtue of his position as a director and/or officer,

owed to the Company and its shareholders the fiduciary duties of loyalty, care and good faith, and

the exercise of due care and diligence in the management and administration of the affairs of the

Company, as well as in the use and preservation of its property and assets. The conduct of the

Individual Defendants complained of herein involves a knowing and culpable violation of their

obligations as directors and/or officers of Fifth Third, the absence of good faith on their part and a




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reckless disregard for their duties to the Company and its shareholders that the Individual

Defendants were aware or should have been aware posed a risk of serious injury to the Company.

       122.     The Individual Defendants breached their duties of loyalty, care and good faith by:

(i) failing to implement and enforce a system of effective internal controls and procedures;

(ii) failing to exercise their oversight duties by not monitoring the Company’s compliance with

state and federal laws and the Company’s internal policies and procedures; (iii) consciously

disregarding and failing to ensure that the Company was following proper sales practices, resulting

in the commencement of the CFPB Action and the Securities Class Action; (iv) failing to fully,

fairly, and timely disclose the scope and impact of the improper sales practices taught to and used

by the Company’s employees and managers; (v) failing to timely take corrective action to reduce

and/or eliminate the illegal sales practices taught to and used by the Company’s employees and

managers; (vi) failing to revise the Company’s incentive pay structure to reduce the likelihood of

employees and managers engaging in unlawful sales practices; (vii) making and/or causing the

Company to make false and misleading statements and/or material omissions resulting in the

commencement of the Securities Class Action; (viii) allowing the Company to violate multiple

federal and state laws and regulations; (ix) failing to take appropriate remedial action when the

Board knew, or should have known, that there was pervasive misconduct at the Company;

(x) failing to act in the best interests of the Company and instead acting for their own self-interest;

and (xi) consciously causing substantial damage to the Company’s credibility, corporate image,

and goodwill.




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                                 SUBSTANTIVE ALLEGATIONS

Fifth Third Utilized and Encouraged Cross-Selling Business Strategies and Incentive
Programs For Years

        123.    As part of the Company’s business practices, Fifth Third Bank employed Cross-

Selling.6 This business strategy was used by Fifth Third Bank until at least 2016, and as more

fully discussed below, recent SEC filings indicate that Cross-Selling is a still an aspect of Fifth

Third’s business strategy.

        124.    Fifth Third Bank’s Cross-Selling was designed to increase the total number of

products and services that were provided to existing bank clients.

        125.    Employees of Fifth Third Bank were incentivized to aggressively support and

utilize Cross-Selling, as performance ratings and retention were conditioned upon achieving

ambitious sales goals.       Further, incentive compensation awards for managers were largely

premised on lower-level employees selling new products and services to existing customers

through Cross-Selling.

        126.    The sales goals imposed upon Fifth Third Bank employees and incorporated into

the incentive-based compensation program “were often set at a level higher than the anticipated

sales for thousands of employees.”7

        127.    In an effort to achieve lofty sales goals, employees began opening unauthorized

consumer-financial products and services, the Unauthorized Accounts. As alleged in the CFPB

Action, Fifth Third Bank employees “opened deposit accounts in consumers’ names; . . . issued

credit cards; . . . and opened lines of credit on consumers’ accounts.”8


6
  Cross-selling is a business strategy (hereinafter referred to as “Cross-Selling”) that purportedly allows
banks and nearly every other business to achieve organic growth cheaper than obtaining new clients and
serves to promote customer retention.
7
  Compl. ¶ 15, CFPB Action, ECF No. 1.
8
  Id. ¶ 5.


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         128.   Once Fifth Third Bank employees established Unauthorized Accounts in existing

clients’ names, employees would “transfer[] funds from consumers’ existing accounts to new,

improperly opened accounts [or] . . . enroll[] customers in online-banking services.”9

         129.   A Fifth Third Bank employee’s failure to achieve the established sales goals could

result in the employee receiving a substandard or low performance review and in certain instances,

employees may be subject to termination.10

         130.   After an extensive investigation, the CFPB alleges that:

         Fifth Third imposed sales goals on all levels of Branch employees as part of its
         efforts to cross-sell; set goals that thousands of its employees could not achieve;
         threatened employees with termination or other disciplinary action if they failed to
         meet their goals; established a system under which managers pressured subordinate
         employees to sell; failed to take steps to determine and address a root cause of
         unauthorized accounts, which was consistently said by employees to be intense
         sales pressure; failed to close known loopholes in its collection of proof of
         consumer authorization, thereby making it easy for employees to open accounts
         without valid signature cards for deposit accounts or applications for credit
         products; and failed to take reasonable steps to identify, notify, and remediate
         identifiable consumers victimized by unauthorized account-openings.11

         131.   Fifth Third and the Individual Defendants were aware, should have been aware, or

willfully, negligently, or intentionally ignored the fraudulent actions of its employees and

managers involving the opening of the Unauthorized Accounts.

         132.   According to the CFPB Action, Fifth Third Bank was aware of the employees’

actions and these Unauthorized Accounts since 2008.12

         133.   In an email dated June 8, 2010, a Fifth Third Bank employee who was identified

by the CFPB as the “head of retail banking” noted:

         Performance is high, but my belief around [the] method of achieving success is
         somewhat suspect. [Redacted] and his leadership team have a reputation of less

9
  Id.
10
   Id. ¶ 15.
11
   Id. ¶ 67.
12
   Id. ¶ 5.


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          than desirable sales management practices. Bullying and threats are often used to
          achieve results. As you probably know, there have been consistent problems around
          unauthorized credit card sales in Chicago.13

          134.    Additionally, in a 2011 letter to management (the “Letter”), a Fifth Third Bank

employee raised concerns regarding the Company’s culture.              The Letter indicates that the

employee attempted to previously raise the concerns through the Company’s ethics hotline (which

is overseen by the Audit Committee); however, the concerns went unresolved:

          I have tried to raise concerns through the ethics hotline, however it doesn’t appear
          that anything has come of it. I have notified them on numerous occasions. I have
          notified my FCM and CSM as well, and they have forwarded my concerns to their
          management team never to receive a response as well. My management team
          supports me 100%, and operates as I do with a high degree of integrity. Their
          support is the sole reason I have lasted here for 2 years and I owe them a great deal
          of respect.14

          135.    The Letter raises concerns regarding unethical behavior at Fifth Third Bank

regarding accounts, as well as perceived sexual harassment. The Letter states, in relevant part:

          I can only speak on behalf of my region, but I would consider many of the sales
          practices and tactics used to be predatory. Many of these sales practices were
          brought to us by regional and market management. They are openly discussed on
          our conference calls. Policies such as “everyone should have 2-3 checking
          accounts”, or people “upgrading” (switching existing MasterCard customers to
          Visa rewards) credit cards for [a] customer without telling them they are applying
          for new credit”. We are becoming a “predatory” institution.

          Every week I come across at least 1 or 2 customer[s] that have been taken advantage
          of. The most common thing I see is customers that have 2 or 3 other checking
          accounts that they didn’t even know they had. Some customers have secure
          checking accounts only to be used for ID Alert. When they can simply add ID alert
          to the DDA they already have. Some customers have the Secure Checking account
          as a secondary and are paying for ID alert on their primary checking account. I
          come across Hispanic customers that don’t understand or speak English that were
          sold products they don’t understand by individuals that don’t speak Spanish.

                                            *      *       *



13
     Opp’n to Mot. to Transfer Venue (“Opp’n Mot.”), Ex. 1, CFPB Action, ECF No. 39-2.
14
     Id., Ex. 2 at 1, ECF No. 39-3.


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        The motivation for these practices is simple, if you don’t meet your goal you get
        fired. That’s what I’ve been told, and that’s what other employees have been told,
        they are pushing the ethical envelope in order to save their jobs. I do not open as
        many accounts as some of my peers and the main reason is I refuse to partake in
        the practices. I brought specific issues to the attention of my manager and the
        regional manager, on numerous occasions. Being able to open and close accounts
        existing customer accounts or adding 3 ddas to existing customers is being
        perceived as production. We aren’t gaining new households; we’re simply
        rotating our existing customer base for numbers, in fact we’re losing more
        customers than we’re gaining, and costing the bank money. Many customers are
        frustrated with the sales practice and subsequently leaving the bank.15

        136.    Based on ¶¶ 130 – 35, Fifth Third and the Individual Defendants were on notice,

should have been on notice, or willfully, negligently, or intentionally ignored the fraudulent actions

of its employees and predatory sales and business practices employed surrounding the

Unauthorized Accounts.

        137.    Fifth Third and the Individual Defendants were aware of the questionable business

tactics associated with Cross Selling. As alleged in the CFPB Action, “Fifth Third [Bank] tracked

internally investigated cases of what it called ‘gaming.’ Gaming, according to Fifth Third, includes

opening unauthorized accounts.”16

        138.    Strikingly, Fifth Third Bank admitted that between 2010 and 2016, it had opened

at least 1,000 Unauthorized Accounts.17

        139.    Even though Fifth Third Bank admits that Unauthorized Accounts were opened,

the Company and the Individual Defendants failed to address the growing problem and instead,

continued to incentivize employees and managers based on Cross Selling metrics.



15
   Id. at 2-3 (emphasis added).
16
   Opp’n Mot. at 5, ECF No. 39; see also id., Ex. 3 at 30:21-24(“Gaming would hone [sic] in more on
something that potentially could have harmed a customer, like we did something without the consent of a
customer.”), ECF No. 39-4; id., Ex. 5 at 14:7-9 (suggesting that potential gaming is exemplified when
“[c]ustomer alleges or complains that they received a credit card and they didn’t apply for the credit card”),
ECF No. 39-6.
17
   Def.’s Mot. to Transfer Venue at 6, CFPB Action, ECF No. 20.


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          140.    The Company’s DEF 14A Proxy Statement filed on March 9, 2017 (the “2017

Proxy Statement”) explained the 2017 executive compensation plan changes, including that

“customer experience was added to the plan as a funding modifier.” The 2017 Proxy Statement

explains that, “[t]he addition of customer experience to the plan will add specific focus to the

cornerstone of our business strategy of ‘putting the customer at the center of all we do.’”

          141.    The 2017 Proxy Statement also includes changes that the Company made to

performance goals, including criteria that would award executives for the following: “Workforce,

customer or market-related objectives (including, but not limited to, employee satisfaction,

customer satisfaction, customer growth, number or type of customer relationships and market

share)” (emphasis added). Therefore, the Company’s executives were also being incentivized to

increase customer growth and the number or type of customer relationships. As a result, the

Company’s executives were motivated to push Cross-Selling and aggressive incentives on the

Company’s employees.

          142.    Fifth Third Bank, the Company, and the Individual Defendants failed to adequately

address the issues surrounding Cross-Selling or “gaming”. In fact, it is noted by the Company’s

corporate designee in the CFPB Action, Darrin Steinmann, that “[Fifth Third Bank does not] have

a systematic way of detecting gaming.”18 Darrin Steinmann has been the Company’s Director of

Corporate Investigations for more than twenty-five years.

          143.    The Company and the Individual Defendants failed to adequately and sufficiently

implement, monitor, and oversee the incentive programs tied to Fifth Third Bank’s Cross-Selling

business strategy.




18
     Opp’n Mot., Ex. 5 at 13:15-16, ECF No. 39-6.


                                                    39
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        144.    Upon learning of the Unauthorized Accounts, the Company and the Individual

Defendants failed to detect, stop, identify, and remediate harm caused to clients.

Fifth Third and the Individual Defendants Issued False and Misleading Statements

        2015 Form 10-K

        145.    On February 25, 2016, Fifth Third filed an Annual Report on Form 10-K with the

SEC for the period ending December 31, 2015 (the “2015 Form 10-K”).

        146.    According to the 2015 Form 10-K, the Company reported $1.712 billion in net

income attributable to the Company and $1.637 billion in net income available to common

shareholders. Additionally, basic earnings per share were $2.03 and diluted earnings per share

were $2.01.

        147.    The 2015 Form 10-K touted the Company’s support and use of Cross-Selling to

reign in higher profits. According to the 2015 Form 10-K:

        The Bancorp, through Fifth Third Capital Holdings, a wholly-owned indirect
        subsidiary of the Bancorp, invests as a limited partner in private equity funds which
        provide the Bancorp an opportunity to obtain higher rates of return on invested
        capital, while also creating cross-selling opportunities for the Bancorp’s
        commercial products.

        148.    According to the 2015 Form 10-K, the Company exploits its multiple business

segments in an effort to expand and capitalize upon potential Cross-Selling opportunities.

Specifically, the 2015 Form 10-K notes, “the business segments form synergies by taking

advantage of cross-sell opportunities and when funding operations by accessing the capital markets

as a collective unit.”

        149.    While the Company indicates that it capitalizes and exploits Cross-Selling

opportunities, Fifth Third suggests that it has safeguards in place to prevent the Unauthorized

Accounts aforementioned. Specifically, the 2015 10-K states:




                                                 40
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       Regulatory Compliance Risk Management provides independent oversight to
       ensure that an enterprise-wide framework, including processes and procedures, are
       in place to comply with applicable laws, regulations, rules and other regulatory
       requirements; internal policies and procedures; and principles of integrity and fair
       dealing applicable to the Bancorp’s activities and functions The Bancorp focuses
       on managing regulatory compliance risk in accordance with the Bancorp’s
       integrated risk management framework, which ensures consistent processes for
       identifying, assessing, managing, monitoring and reporting risks[.]

       150.   Additionally, Fifth Third acknowledges that the banking industry is under

heightened scrutiny from regulators and other governmental officials, noting:

       The current regulatory environment, including heightened regulatory expectations
       and material changes in laws and regulations, increases compliance risk. To
       mitigate compliance risk, Compliance Risk Management provides independent
       oversight to ensure consistency and sufficiency, and ensures that lines of business,
       regions and support functions are adequately identifying, assessing and monitoring
       compliance risks and adopting proper mitigation strategies. The lines of business
       and enterprise functions are responsible for managing the compliance risks
       associated with their areas. Additionally, Compliance Risk Management
       implements key compliance programs and processes including but not limited to,
       risk assessments, key risk indicators program, issues tracking, regulatory
       compliance testing and monitoring, anti-money laundering, privacy, and oversees
       the Bancorp’s compliance with the Community Reinvestment Act.

       151.   Fifth Third’s management and the Individual Defendants were aware, should have

been aware, or willfully ignored ongoing compliance risks, and the issues raised by employees

described in ¶¶ 130 – 35. Specifically, the 2015 Form 10-K states:

       Fifth Third also focuses on reporting and escalation of compliance issues to senior
       management and the Board. The Management Compliance Committee is the key
       committee that oversees and supports Fifth Third in the management of compliance
       risk across the enterprise. The Management Compliance Committee addresses Fifth
       Third-wide compliance issues, industry best practices, legislative developments,
       regulatory concerns, and other leading indicators of compliance risk. The
       Management Compliance Committee reports to the Enterprise Risk Management
       Committee, which reports to Risk and Compliance Committee of the Board of
       Directors.




                                               41
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       152.    Additionally, the 2015 Form 10-K acknowledges that, “Fifth Third is subject to

various regulatory requirements that may limit its operations and potential growth.” Specifically,

the 2015 Form 10-K states, in relevant part:

       Under federal and state laws the regulations pertaining to the safety and soundness
       of insured depository institutions and their holding companies, the FRB, the FDIC,
       the CFPB and the Ohio Division of Financial Institutions have the authority to
       compel or restrict certain actions by Fifth Third and its banking subsidiary. . . . In
       addition, Fifth Third, . . . [has] recently been subjected to increased scrutiny from
       government authorities, including bank regulatory authorities, stemming from
       broader systemic regulatory concerns, including with respect to stress testing,
       capital levels, asset quality, provisioning, AML/BSA, consumer compliance and
       other prudential matters and efforts to ensure that financial institutions take steps
       to improve their risk management and prevent future crises. In this regard,
       government authorities, including the bank regulatory agencies, are also pursuing
       aggressive enforcement actions with respect to compliance and other legal matters
       involving financial activities, which heightens the risks associated with actual and
       perceived compliance failures and may also adversely affect Fifth Third’s ability to
       enter into certain transactions or engage in certain activities, or obtain necessary
       regulatory approvals in connection therewith.

       153.    Defendants Carmichael, Tuzun, Williams, Akins, Bayh, Benitez, Blackburn,

Brumback, Heminger, Hoover, and McCallister signed and affirmed the 2015 Form 10-K.

       2016 Form 10-K

       154.    On February 24, 2017, Fifth Third filed an Annual Report on Form 10-K with the

SEC for the period ending December 31, 2016 (the “2016 Form 10-K”).

       155.    According to the 2016 Form 10-K, the Company reported $1.564 billion in net

income attributable to the Company and $1.489 billion in net income available to common

shareholders. Additionally, basic earnings per share were $1.95 and diluted earnings per share

were $1.93.

       156.    The 2016 Form 10-K contained the same language as the 2015 Form 10-K with

regards to the Company’s Cross-Selling:




                                                42
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        [t]he Bancorp, through Fifth Third Capital Holdings, a wholly-owned indirect
        subsidiary of the Bancorp, invests as a limited partner in private equity funds which
        provide the Bancorp an opportunity to obtain higher rates of return on invested
        capital, while also creating cross-selling opportunities for the Bancorp’s
        commercial products.

                                          *      *       *

        Additionally, the business segments form synergies by taking advantage of cross-
        sell opportunities and when funding operations by accessing the capital markets as
        a collective unit.

        157.   The 2016 Form 10-K also incorporates similar language regarding regulatory

compliance, heightened regulatory and governmental scrutiny, and that compliance issues are

raised to the Board of Directors through the Enterprise Risk Management Committee.

        158.   The allegations alleged in ¶¶ 149 – 52 are reincorporated as if set forth at length

herein as substantively similar language from the 2015 Form 10-K appears within the 2016 Form

10-K.

        159.   Defendants Carmichael, Tuzun, Williams, Akins, Benitez, Blackburn, Brumback,

Burris, Heminger, Hoover, and Mallesch signed and affirmed the 2016 Form 10-K.

2017 Form 10-K

        160.   On February 28, 2018, Fifth Third filed an Annual Report on Form 10-K with the

SEC for the period ending December 31, 2017 (the “2017 Form 10-K”).

        161.   According to the 2017 Form 10-K, the Company reported $2.194 billion in net

income attributable to the Company and $2.119 billion in net income available to common

shareholders. Additionally, basic earnings per share were $2.88 and diluted earnings per share

were $2.83.

        162.   The 2017 Form 10-K contained the same language as the 2015 Form 10-K and the

2016 Form 10-K with regards to the Company’s Cross-Selling:




                                                 43
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       The Bancorp, through Fifth Third Capital Holdings, a wholly-owned indirect
       subsidiary of the Bancorp, invests as a limited partner in private equity funds which
       provide the Bancorp an opportunity to obtain higher rates of return on invested
       capital, while also creating cross-selling opportunities for the Bancorp’s
       commercial products.

                                     *      *        *

       Additionally, the business segments form synergies by taking advantage of cross-
       sell opportunities and when funding operations by accessing the capital markets as
       a collective unit.

       163.   The 2017 Form 10-K also incorporates similar language regarding regulatory

compliance, heightened regulatory and governmental scrutiny, and that compliance issues are

raised to the Board of Directors through the Enterprise Risk Management Committee.

       164.   The allegations alleged in ¶¶ 149 - 52 are reincorporated as if set forth at length

herein, as substantively similar language from the 2015 Form 10-K and 2016 Form 10-K appears

within the 2017 Form 10-K.

       165.   Defendants Carmichael, Tuzun, Williams, Bayh, Benitez, Blackburn, Brumback,

Burris, Heminger, Hoover, Mallesch, and McCallister signed and affirmed the 2017 Form 10-K.

       2018 Form 10-K

       166.   On March 1, 2019, Fifth Third filed an Annual Report on Form 10-K with the SEC

for the period ending December 31, 2018 (the “2018 Form 10-K”).

       167.   According to the 2018 Form 10-K, the Company reported $2.193 billion in net

income attributable to the Company and $2.118 billion in net income available to common

shareholders. Additionally, basic earnings per share were $3.11 and diluted earnings per share

were $3.06.

       168.   The 2018 Form 10-K contained the same language as the 2015 Form 10-K, 2016

Form 10-K, and 2017 Form 10-K with regards to the Company’s Cross-Selling:




                                                44
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       The Bancorp, through Fifth Third Capital Holdings, a wholly-owned indirect
       subsidiary of the Bancorp, invests as a limited partner in private equity funds which
       provide the Bancorp an opportunity to obtain higher rates of return on invested
       capital, while also creating cross-selling opportunities for the Bancorp’s
       commercial products.

                                         *      *       *

       Additionally, the business segments form synergies by taking advantage of cross-
       sell opportunities and when funding operations by accessing the capital markets as
       a collective unit.

       169.   The 2018 Form 10-K also incorporates similar language regarding regulatory

compliance, heightened regulatory and governmental scrutiny, and that compliance issues are

raised to the Board of Directors through the Enterprise Risk Management Committee.

       170.   The allegations alleged in ¶¶ 149 - 52 are reincorporated as if set forth at length

herein as substantively similar language appears within the 2018 Form 10-K compared to the 2015

Form 10-K, 2016 Form 10-K, and 2017 Form 10-K.

       171.   Defendants Carmichael, Tuzun, Akins, Bayh, Benitz, Blackburn, Brumback,

Burris, Heminger, Hoover, Mallesch, and McCallister signed and affirmed the 2018 Form 10-K.

       2019 Form 10-K

       172.   On March 2, 2020, Fifth Third filed an Annual Report on Form 10-K with the SEC

for the period ending December 31, 2019 (the “2019 Form 10-K”).

       173.   According to the 2019 Form 10-K, the Company reported $2.512 billion in net

income attributable to the Company and $2.419 billion in net income available to common

shareholders. Additionally, basic earnings per share were $3.38 and diluted earnings per share

were $3.33.

       174.   The 2019 Form 10-K contained similar language regarding the Company’s use an

exploitation of Cross-Selling. Specifically, the 2019 Form 10-K states, “the business segments




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form synergies by taking advantage of cross-sell opportunities and funding operations by accessing

the capital markets as a collective unit.”

       175.    The 2019 Form 10-K also incorporates similar language regarding regulatory

compliance, heightened regulatory and governmental scrutiny, and that compliance issues are

raised to the Board through the Enterprise Risk Management Committee.

       176.    The allegations alleged in ¶¶ 149 - 52 are reincorporated as if set forth at length

herein as substantively similar language appears within the 2019 Form 10-K compared to the 2015

Form 10-K, 2016 Form 10-K, 2017 Form 10-K, and 2018 Form 10-K.

       177.    Defendants Carmichael, Tuzun, Williams, Akins, Bayh, Benitez, Blackburn,

Brumback, Burris, Daniels, Harvey, Heminger, Hoover, Mallesch, and McCallister signed and

affirmed the 2019 Form 10-K.

       178.    The statements identified in ¶¶ 145 - 77 were materially false and misleading

because the Company and the Individual Defendants failed to disclose material facts regarding

Fifth Third and the Company’s business practices, operations, incentive programs, as well as Fifth

Third’s predatory Cross-Selling. Specifically, the Company and the Individual Defendants failed

to disclose and/or provided false and/or misleading statements with regards to: (i) Company

employees fraudulently opening Unauthorized Accounts; (ii) the Company incentivizing and

rewarding employees and management for establishing Unauthorized Accounts; (iii) the

Company’s and the Individual Defendants’ awareness of the unethical and fraudulent activity

surrounding the Unauthorized Accounts since at least 2008; (iv) the Company being in violation

of federal and state laws and regulations designed to protect clients from instances such as the

opening of Unauthorized Accounts; (v) the Company and Individual Defendants failing to

implement, maintain, and oversee the Company’s Cross-Selling strategies and initiatives; (vi) the




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Company and Individual Defendants failing to identify and mitigate misconduct associated with

Cross-Selling, and failing to remediate the harm caused to consumers who were subjected to

Unauthorized Accounts; (vii) as a result of (i) – (vi), the Company being subject to a heightened

level of risk and enforcement action that was not accurately or fully captured in the 2015 Form 10-

K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-K, or 2019 Form 10-K; (viii) Fifth Third’s

revenue, net income, customer retention, new accounts, inter alia, provided a false and misleading

picture of the Company’s true financial status as the figures reported contained results based on

unlawful and unethical conduct that is unsustainable; and (ix) as a result of (i) – (viii), Fifth Third’s

public statements were materially false and misleading.

        2018-2020 Proxy Statements

        179.    On March 6, 2018, the Company filed its DEF 14A Proxy Statement (the “2018

Proxy Statement”). On March 6, 2019, the Company filed its 2019 Proxy Statement. On March

4, 2020, the Company filed its 2020 Proxy Statement. Each member of the Board, except for non-

parties Feiger and Clement-Holmes, authorized the dissemination of at least one of Fifth Third’s

2018 Proxy Statement, 2019 Proxy Statement, and 2020 Proxy Statement (collectively, the “Proxy

Statements”).

        180.    According to the Proxy Statements:

        At Fifth Third, we endeavor to attract and retain the best people and motivate them
        to fulfill the Company’s vision of becoming the “One Bank that people most value
        and trust.” We intend to accomplish this by aligning our company strategy and
        goals with our shareholders’ long-term interests, by establishing compensation
        programs that reward our employees for delivering products and services our
        customers highly value, and by avoiding excessive risk. Our compensation
        philosophy guides us in this endeavor.

(Emphasis added.)




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       181.    The Proxy Statements discuss the Company’s executive officers role in

compensation decisions:

       The chief executive officer annually reviews the performance of each of the other
       Named Executive Officers, which includes a risk performance assessment
       completed by the Company’s chief risk officer. Based on this review, the chief
       executive officer makes compensation recommendations to the Committee,
       including recommendations for salary adjustments, Variable Compensation Plan
       awards, and long-term, equity-based incentive awards. In addition, the chief
       executive officer and certain other members of management annually assess
       performance for other executive officers and make compensation recommendations
       to the Committee. Although the Committee considers these recommendations along
       with data provided by its consultant, F.W. Cook, it retains full discretion to set all
       compensation for the Company’s executive officers. The Committee works directly
       with its consultant to determine compensation for the chief executive officer. The
       chief executive officer has no input into his/her own compensation determinations.

       Additionally, the chief risk officer reviews and evaluates with the Committee all
       executive officer and employee incentive compensation plans, described in more
       detail in the Compensation Risk Management section above. The purpose of the
       review is to confirm that the Company’s incentive compensation plans do not
       incent or pose unnecessary or excessive risks to the Company.

(Emphasis added.)

       182.   According to the 2020 Proxy Statement:

       The Audit Committee has also established Fifth Third’s EthicsLine, a toll-free
       hotline and web portal through which confidential complaints may be made
       regarding: illegal or fraudulent activity; questionable accounting, internal controls,
       or auditing matters; conflicts of interest, dishonest or unethical conduct, including
       incentive gaming; disclosures in the Company’s SEC reports, bank regulatory
       filings, and other public disclosures that are not full, fair, accurate, timely, and
       understandable; violations of our Code of Business Conduct and Ethics; and/or any
       other violations of laws, rules, or regulations. The contact information for the
       EthicsLine is available in the Code of Business Conduct and Ethics, which is
       available at our website. Complaints submitted through this process are presented
       to the Audit Committee on a regular, periodic basis.

(Emphasis added.)

       183.   The Individual Defendants encouraged and fostered a culture of unnecessary risk

taking. Further, the Board and Audit Committee must have been aware of the misconduct because




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of the Audit Committee’s responsibility for handling employee complaints on a regular basis. As

described herein, including ¶ 214, the Company received many complaints. Thus, the Proxy

Statements were false and misleading by stating that the Company’s compensation programs were

tailored to avoid risks.

        184.    The Proxy Statements contained false statements and omitted material facts

necessary to make the discussion of the Company’s business operations and internal controls not

false and misleading. Specifically, the Proxy Statements failed to disclose, inter alia, that: (i) the

Board was on notice for years of the misconduct described herein; (ii) the Company’s use of Cross-

Selling and incentives caused its employees to engage in the misconduct described herein; (iii) the

Company was aware of the misconduct as early as 2008, but neglected to design and monitor the

Company’s Cross-Selling and incentive compensation in a way that would identify and prevent

the misconduct described herein; (iv) there were material weaknesses in the Company’s internal

controls; (v) the Company was at a heightened risk of regulatory action due to the misconduct

described herein; and (vi) the Company’s earnings were at least partially a result of the misconduct

described herein and were not sustainable.

        185.    Further, the Proxy Statements issued by certain of the Individual Defendants were

false and misleading as to the extent they contained information describing the Company’s

compliance with governmental policies and regulations. The Proxy Statements were further false

and misleading as the Individual Defendants failed to comply with the Company’s Code while

representing that the application of its terms was nonnegotiable. Moreover, the Proxy Statements

were false and misleading by not disclosing the misconduct discussed herein and the scheme to

issue false and misleading statements and/or omit material facts necessary for shareholders to make

informed decisions regarding the Company.




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Risk and Compliance Changes at Fifth Third Prior to the CFPB Action

        186.    On January 30, 2020, Fifth Third filed a Current Report on Form 8-K with the SEC

(the “January 2020 Form 8-K”). The January 2020 Form 8-K noted that Fifth Third:

        Promoted James C. Leonard to Executive Vice President and Chief Risk Officer,
        . . . Frank R. Forrest has been appointed to the role of Executive Vice President and
        Special Advisor for Risk Management and Regulatory Matters of the Company, to
        serve until December 31, 2020, at which time he will retire from the Company.

        187.    On the same day, Fifth Third issued a press release announcing the leadership

change (the “January 2020 PR”). The January 2020 PR notes that “Frank Forrest . . . has served

as executive vice president and chief risk officer since 2014.” The January 2020 PR continues to

state that in Frank Forrest’s new “role he will continue reporting to Greg Carmichael, Fifth Third

chairman, president and CEO.”

        188.    Neither the January 2020 Form 8-K nor the January 2020 PR provide any indication

as to why the transition of the Company’s Chief Risk Officer was necessary or whether it was

based on actual or perceived misconduct. Instead, the January 2020 PR states that “changes to

certain senior leadership roles [were made] in order to position the Company for continued success

in executing its key strategic priorities.”

        189.    Beyond stating that Forrest’s transition would occur, among other executive moves,

the January 2020 PR simply includes the following quote from Defendant Carmichael:

        Frank has successfully led our risk management transformation and conversion to
        a national charter, and we look forward to his continued counsel and contributions
        as we move through 2020.

        190.    The January 2020 PR also stated the following about James C. Leonard,

        Jamie Leonard, who has worked at the Company for more than 20 years, succeeds
        Forrest as chief risk officer. Leonard most recently served as executive vice
        president and treasurer for the past six years. During his tenure as treasurer, he
        managed capital, liquidity and interest rate risk. Leonard also served on the
        corporate credit committee. In his role he will report to Carmichael.



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The CFPB Action

       191.    On March 2, 2020, less than two months after announcing that the Company’s Chief

Risk Officer was being transitioned into a new role, Fifth Third filed its 2019 Form 10-K.

       192.    Under the heading “Governmental Investigations and Proceedings,” the

Company’s 2019 Form 10-K states:

       For example, the CFPB staff has notified Fifth Third that it intends to file an
       enforcement action in relation to alleged unauthorized account openings. Fifth
       Third believes that the facts do not warrant an enforcement proceeding and intends
       to defend itself vigorously if such an action should be filed. The impact of this
       potential enforcement action has been reflected in our reasonably possible losses.


       193.    According to the 2019 Form 10-K:

       For matters where the Bancorp is able to estimate such possible losses or ranges of
       possible losses, the Bancorp currently estimates that it is reasonably possible that it
       could incur losses related to legal and regulatory proceedings, including known
       contemplated enforcement actions and Fifth Third’s intended response to such
       actions, in an aggregate amount up to approximately $56 million in excess of
       amounts accrued.

       194.    On March 3, 2020, the day after Fifth Third filed its 2019 Form 10-K the

Company’s shares opened for trading at $25.72; however, by market close, Fifth Third shares

closed at $24.44. Over the next few trading days, Fifth Third’s share price continued to fall and

on March 6, 2020, the Company’s share price fell to $22.20.

       195.    Beyond the statement contained within the Company’s 2019 Form 10-K regarding

the CFPB’s intention to file an enforcement action, the Company and Individual Defendants failed

to provide investors with full information regarding Fifth Third’s misconduct and the

Unauthorized Accounts.

       196.    The statements regarding the potential CFPB enforcement action are misleading to

investors and the public as a whole. The Company’s 2019 Form 10-K notes, “Fifth Third believes




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that the facts do not warrant an enforcement proceeding”; however, as referenced in ¶ 138, Fifth

Third Bank admitted in the CFPB Action that at least 1,000 Unauthorized Accounts were opened

between 2010 and 2016, and the Company and Individual Defendants were on notice.

       197.    While the 2019 Form 10-K included the minimal statement regarding the CFPB’s

intention to file a lawsuit, the Company continued to tout Fifth Third’s Cross-Selling, regulatory

compliance, heightened regulatory and governmental scrutiny, and that compliance issues are

raised to the Board of Directors through the Enterprise Risk Management Committee.

       198.    The statements referenced in ¶¶ 192 – 93 were materially false and misleading

because the Company and the Individual Defendants failed to disclose material facts regarding

Fifth Third and the Company’s business practices, operations, incentive programs, as well as Fifth

Third’s predatory Cross-Selling. Specifically, the Company and the Individual Defendants failed

to disclose and/or provided false and/or misleading statements with regards to: (i) Company

employees fraudulently opening Unauthorized Accounts; (ii) the Company incentivizing and

rewarding employees and management for establishing Unauthorized Accounts; (iii) the Company

and Individual Defendants being aware of the unethical and fraudulent activity surrounding the

Unauthorized Accounts since at least 2008; (iv) the Company being in violation of federal and

state laws and regulations designed to protect clients from instances such as Unauthorized

Accounts; (v) the Company and Individual Defendants failing to implement, maintain, and oversee

the Company’s Cross-Selling; (vi) the Company and Individual Defendants failing to identify and

mitigate misconduct associated with Cross-Selling, and failing to remediate the harm caused to

consumers who were subjected to Unauthorized Accounts; (vii) as a result of (i) – (vi), the

Company being subject to a heightened level of risk and enforcement action that was not accurately

or fully captured in the 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-K, or




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2019 Form 10-K; (viii) Fifth Third’s revenue, net income, customer retention, new accounts, inter

alia, provided a false and misleading picture of the Company’s true financial status as the figures

reported contained results based on unlawful and unethical conduct that is unsustainable; and

(ix) as a result of (i) – (viii), Fifth Third’s public statements were materially false and misleading.

       199.    On March 9, 2020, the CFPB announced that it initiated a lawsuit, the CFPB

Action, against Fifth Third Bank in the United States District Court, Northern District of Illinois,

Eastern Division.19

       200.    The same day the CFPB issued a press release (the “CFPB PR”) entitled “Consumer

Financial Protection Bureau Files Suit Against Fifth Third Bank, National Association for

Allegedly Opening Unauthorized Accounts and Enrolling Consumers in Unauthorized Products

and Services.”20

       201.    The CFPB’s press release stated, in relevant part:

       The Consumer Financial Protection Bureau (Bureau) today filed a lawsuit in federal
       district court in the Northern District of Illinois against Fifth Third Bank, National
       Association (Fifth Third). The Bureau alleges that for several years Fifth Third,
       without consumers’ knowledge or consent: opened deposit and credit-card accounts
       in consumers’ names; transferred funds from consumers’ existing accounts to new,
       improperly opened accounts; enrolled consumers in unauthorized online-banking
       services; and activated unauthorized lines of credit on consumers’ accounts. The
       Bureau alleges that Fifth Third violated the Consumer Financial Protection Act’s
       prohibition against unfair and abusive acts or practices as well as the Truth in
       Lending Act and the Truth in Savings Act and their implementing regulations.

       The Bureau specifically alleges that for years and continuing through at least 2016,
       Fifth Third used a “cross-sell” strategy to increase the number of products and
       services it provided to existing customers; used an incentive-compensation
       program to reward selling new products; and conditioned employee-performance
       ratings and, in some instances, continued employment on meeting ambitious sales
       goals. The Bureau further alleges that, despite knowing since at least 2008 that
       employees were opening unauthorized consumer-financial accounts, Fifth Third

19
   Bureau of Consumer Financial Protection v. Fifth Third Bank, National Association, Case Number 1:20-
cv-01683 (“CFPB Action”).
20
    https://www.consumerfinance.gov/about-us/newsroom/cfpb-files-suit-against-fifth-third-for-allegedly-
opening-unauthorized-accounts-enrolling-consumers-in-unauthorized-products/.


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       took insufficient steps to detect and stop the conduct and to identify and remediate
       harmed consumers.

       Reasonable sales goals and performance incentives are not inherently harmful. But
       when such programs are not carefully and properly implemented and monitored, as
       the Bureau alleges here, they may create incentives for employees to engage in
       misconduct in order to meet goals or earn additional compensation.21

       202.    The CFPB Action alleges that Fifth Third Bank was aware “since at least 2008 that

employees were opening unauthorized consumer-financial products and services,” Fifth Third

Bank failed to adequately “implement and monitor its program, detect and stop misconduct and

identify and remediate harmed consumers.”22

       203.    Additionally, the CFPB Action alleges that Fifth Third Bank’s “conduct violated

the Consumer Financial Protection Act of 2010 (CFPA), the Truth in Lending Act (TILA), the

Truth in Savings Act (TISA), and their implementing regulations.”23

       204.    Further, the CFPB Action alleges that, “[f]rom at least 2010 through at least 2016,

Fifth Third [Bank] opened deposit accounts for existing Fifth Third [Bank] customers without the

customers’ knowledge or consent.”24

       205.    Also, the CFPB Action alleges that, “[f]rom at least 2008 through at least 2016,

Fifth Third [Bank] issued credit cards to existing customers without their knowledge or consent.

By 2009, at the latest, Fifth Third [Bank] noticed a spike in unauthorized credit cards being issued

to consumers.”25

       206.    The CFPB Action continues to allege that, “[f]rom at least 2010 through at least

2016, Fifth Third [Bank] enrolled consumers in online-banking services without their knowledge



21
   Id.
22
   Compl. ¶ 5, CFPB Action, ECF No. 1.
23
   Id. ¶ 6.
24
   Id. ¶ 19.
25
   Id. ¶¶ 24-25.


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or consent.”26

         207.    Moreover, the CFPB Action alleges that, “Fifth Third [Bank] opened unauthorized

Early Access lines of credit from at least 2010 through 2014, and Fifth Third [Bank] retained

unauthorized Early Access lines of credit even after it stopped offering new Early Access lines of

credit.”27 Further, according to the CFPB, “Fifth Third [Bank] was aware of this by June 2010,

when senior management was notified of an increase in the number of calls by employees to the

internal whistleblower hotline regarding the unauthorized opening of Early Access lines of

credit.”28 As noted above, complaints submitted through the Fifth Third’s EthicsLine are presented

to the Audit Committee on a regular, periodic basis.

         208.    Upon publication of the CFPB PR and the filing of the CFPB Action, Fifth Third’s

share price began to fall.

         209.    On March 9, 2020, Fifth Third’s stock opened at $20.02 per share; however, the

Company’s share price closed at $18.30 per share. Over the next couple of trading days Fifth

Third’s share price continued to fall and on March 11, 2020 the Company’s share price closed at

$17.66 per share. Fifth Third’s share price continued to fall and on March 18, 2020 the Company’s

share price closed at $11.67 per share.

Fifth Third’s Response to the CFPB Action

         210.    In response to the CFPB Action, on March 9, 2020 Fifth Third filed a Current

Report on Form 8-K with the SEC (the “March 9, 2020 Form 8-K”) along with an attached press

release entitled “Fifth Third Bancorp Rejects Charges in CFPB’s Civil Lawsuit, Points to Its

Customer Commitment and Proven Track Record of Aligning Employee Incentives with



26
   Id. ¶ 29.
27
   Id. ¶ 33.
28
   Id. ¶ 32.


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Customer-Focused Best Practices” (the “March 2020 PR”), a fact sheet (the “March 2020 Fact

Sheet”) and a list of frequently asked questions (the “March 2020 FAQ”) (collectively referred to

as the “March 2020 Responses”).

        211.    The March 9, 2020 Form 8-K stated the following, in relevant part, “[o]n March 9,

2020, Fifth Third Bancorp issued a press release regarding its litigation with the Consumer

Financial Protection Bureau. Fifth Third is also furnishing a fact sheet and answers to frequently

asked questions relating to this matter.”

        212.    The March 2020 PR stated that, “Fifth Third Bancorp (Nasdaq: FITB) today

rejected the allegations made by the Consumer Financial Protection Bureau (“CFPB”) in a civil

lawsuit.”

        213.    Similarly, the March 2020 Fact Sheet again stated “Fifth Third Bank Rejects CFPB

Allegations” in prominent, bold face across the document’s header. Additionally, the March 2020

Fact Sheet states, in relevant part:

        While Fifth Third Bank respects and values the important role that the Consumer
        Financial Protection Bureau (CFPB) plays in protecting consumers, the allegations
        in the civil lawsuit brought by the CFPB against Fifth Third are unsubstantiated,
        based on limited, non-systemic, and remediated events, and reflect
        misunderstandings of our products, services, and work culture.

        When a federal court examines the evidence, we believe it will agree with Fifth
        Third that the civil suit filed today is unnecessary and unwarranted.

        214.    Yet, Fifth Third admits to opening Unauthorized Accounts. Specifically, the March

2020 Fact Sheet states, “Fifth Third identified . . . 1,100 unauthorized accounts . . . opened between

2010 and 2016.”      But attempts to downplay this fact under the guise that the number of

Unauthorized Accounts equates to “just 0.01%” and that “[t]here is no evidence of systemic

misconduct.”     Moreover, the Company admits that it received “424 complaints regarding

unauthorized accounts” from the same subsect of accounts analyzed.



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       215.    The March 2020 Fact Sheet continued to address each and every allegation of the

CFPB Action and attempted to portray the Company in a positive light. Many of the responsive

statements contained within the March 2020 Fact Sheet suggest that “[i]ncentives have always

been modest”, which in Fifth Third’s and the Individual Defendants’ opinion, is sufficient to deter

unethical and unlawful situations, such as the opening of Unauthorized Accounts.

       216.    Similarly, the March 2020 FAQ admits to “[l]imited instances of employee

misconduct”. Further, the Company attempts to downplay the incentives available to retail bank

employees by stating “only a small percentage [of compensation] is based on sales performance.”

       217.    The March 9, 2020 Form 8-K, March 2020 PR, March 2020 Fact Sheet, and March

2020 FAQ were materially false and misleading because the Company and the Individual

Defendants failed to disclose material facts regarding Fifth Third and the Company’s business

practices, operations, incentive programs, as well as Fifth Third’s predatory Cross-Selling.

Specifically, the Company and the Individual Defendants failed to disclose and/or provided false

and/or misleading statements with regards to: (i) Company employees fraudulently opening

Unauthorized Accounts; (ii) the Company incentivizing and rewarding employees and

management for establishing Unauthorized Accounts; (iii) the Company and Individual

Defendants being aware of the unethical and fraudulent activity surrounding the Unauthorized

Accounts since at least 2008; (iv) the Company being in violation of federal and state laws and

regulations designed to protect clients from instances such as Unauthorized Accounts; (v) the

Company and Individual Defendants failing to implement, maintain, and oversee the Company’s

Cross-Selling; (vi) the Company and Individual Defendants failing to identify and mitigate

misconduct associated with Cross-Selling, and failing to remediate the harm caused to consumers

who were subjected to Unauthorized Accounts; (vii) as a result of (i) – (vi), the Company being




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subject to a heightened level of risk and enforcement action that was not accurately or fully

captured in the 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-K, or 2019

Form 10-K; (viii) Fifth Third’s revenue, net income, customer retention, new accounts, inter alia,

provided a false and misleading picture of the Company’s true financial status as the figures

reported contained results based on unlawful and unethical conduct that is unsustainable; and (ix)

as a result of (i) – (viii), Fifth Third’s public statements were materially false and misleading.

          218.   Furthermore, the timing of Defendant Forrest’s transition and impending retirement

suggests that the Company and the Individual Defendants were well aware of the impending CFPB

Action months prior to the inclusion of the Company’s statement regarding the CFPB’s

investigation in the 2019 Form 10-K. Additionally, the timing of Forrest’s transition suggests the

existence of officer misconduct and/or that Forrest was responsible for, an integral part of, or

possessed substantial knowledge regarding the CFPB’s allegations.

          219.   On March 24, 2020, fifteen (15) days after the filing of CFPB Action, Fifth Third

filed a Current Report on Form 8-K with the SEC (the “March 24, 2020 Form 8-K”). The March

24, 2020 Form 8-K indicates that the Company made “Amendments to Articles of Incorporation

or Bylaws; Change in Fiscal Year.” Specifically, the March 24, 2020 Form 8-K states, in relevant

part:

          Section 17 of Article III of the Regulations was also revised to allow
          indemnification of employees to the fullest extent permitted by Ohio law. Lastly, a
          new Section 18 of Article III was added to the Regulations in order to expressly
          allow, with certain exceptions, the advancement of expenses (including attorney’s
          fees) to anyone defending an action pursuant to the indemnification provisions of
          the Regulations.

          220.   Notably, Article III of the Code of Regulations of Fifth Third Bancorp as Amended

(the “Amended Regulations”) is entitled “Board of Directors”. Section 17 of Article III, as

amended, states:



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  Indemnification. The Corporation shall indemnify, to the full extent permitted or
  authorized by applicable law, as it may from time to time be amended, any person
  made or threatened to be made a party to any threatened, pending, or completed
  action, suit, or proceeding, whether civil, criminal, administrative, or investigative,
  by reason of the fact that he or she is or was a director, officer, or employee of the
  Corporation, or is or was serving at the request of the Corporation as a director,
  trustee, officer, or employee of a bank, other corporation, partnership, joint venture,
  trust, or other enterprise. In the case of a merger into the Corporation of a
  constituent corporation which, if its separate existence had continued, would have
  been required to indemnify directors, officers, or employees in specified situations
  prior to the merger, any person who served as a director, officer, or employee of
  the constituent corporation, or served at the request of the constituent corporation
  as a director, trustee, officer, or employee of a bank, other corporation, partnership,
  joint venture, trust, or other enterprise, shall be entitled to indemnification by the
  Corporation (as the surviving corporation) for acts, omissions, or other events or
  occurrences prior to the merger to the same extent as such person would have been
  entitled to indemnification by the constituent corporation if its separate existence
  had continued. The indemnification provided by this Section shall not be deemed
  exclusive of any other rights to which any person seeking indemnification may be
  entitled under the Articles of Incorporation or this Code of Regulations, or any
  agreement, vote of shareholders or disinterested directors, or otherwise, both as to
  action in his or her official capacity and as to action in another capacity while
  holding such office, and shall continue as to a person who has ceased to be a
  director, trustee, officer, or employee and shall inure to the benefit of the heirs,
  executors, and administrators of such a person.

  221.   Moreover, Section 18 of Article III, as amended, states:

  Advancement of Expenses. To the extent permitted by applicable law, expenses
  (including attorneys’ fees) incurred by a director subject to Section 17 in defending
  any action, suit or proceeding referred to in Section 17 shall be paid by the
  Corporation as incurred, in advance of the final disposition of such action, suit or
  proceeding, upon receipt by the Corporation of an undertaking by or on behalf of
  such director that satisfies the conditions for such advancement under Ohio law. To
  the extent permitted by applicable law, liabilities and expenses (including
  attorneys’ fees) incurred by any person subject to Section 17 other than a director
  in defending any action, suit or proceeding referred to in Section 17 may be paid
  by the Corporation as incurred, in advance of the final disposition of such action,
  suit or proceeding, if and to the extent so determined by the Board of Directors
  (including pursuant to policies adopted from time to time by the Board of
  Directors), subject to compliance by such person with the applicable conditions for
  such advancement under Ohio law and any other conditions determined by the
  Board of Directors.

  222.   The Amended Regulations, which were established a mere fourteen (14) days after




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the filing of CFPB Action indicates that the Individual Defendants are acting in a manner to further

and protect their own personal and financial interests.

       223.    Surprisingly, while the Individual Defendants were securing their personal and

financial protection with regard to indemnity and attorney’s fees, Fifth Third filed a Current Report

on Form 8-K with the SEC on April 14, 2020 which contained the presentation to “be made during

the 2020 Annual Meeting of Shareholders of Fifth Third Bancorp” (the “April 2020 Form 8-K”).

       224.    The attached presentation to the April 2020 Form 8-K makes no mention of the

CFPB Action or the Securities Class Action, even though the agenda indicates that a Business

Update would be provided. Instead, the presentation touts the Company’s resilient balance sheet,

proactive management, and diversified revenue mix.

       225.    Similar to the April 2020 Form 8-K, Fifth Third’s First Quarter 2020 Earnings

Presentation failed to mention the CFPB Action or the Securities Class Action. Instead, once

again, the presentation touts the Company’s resilient balance sheet, proactive management, and

diversified revenue mix.

       226.    On May 8, 2020, Fifth Third filed a Quarterly Report on Form 10-Q with the SEC

for the period ended March 31, 2020 (the “1Q 2020 Form 10-Q”). The 1Q 2020 Form 10-Q states

the following about the CFPB Action:

       On March 9, 2020, the CFPB filed a lawsuit against Fifth Third in the United States
       District Court for the Northern District of Illinois entitled CFPB v. Fifth Third
       Bank, National Association, Case No. 1:20-CV-01683 (N.D.Ill.) (ABW), alleging
       violations of the Consumer Financial Protection Act, TILA, and Truth in Savings
       Act related to Fifth Third’s alleged opening of unspecified numbers of allegedly
       unauthorized credit card, savings, checking, online banking and early access
       accounts from 2010 through 2016. The CFPB seeks unspecified amounts of civil
       monetary penalties as well as unspecified customer remediation. Fifth Third
       believes that the facts do not warrant an enforcement proceeding and intends to
       defend itself vigorously in this matter.

       227.    The Company also discussed the Securities Class Action in the 1Q 2020 Form 10-



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Q for the first time. The 1Q 2020 Form 10-Q states the following regarding the Securities Class

Action:

        On April 7, 2020, Plaintiff Lee Christakis filed a putative class action against Fifth
        Third Bancorp, Fifth Third President and Chief Executive Officer Greg D.
        Carmichael, and Fifth Third Chief Financial Officer Tayfun Tuzun in the U.S.
        District Court for the Northern District of Illinois entitled Lee Christakis,
        individually and on behalf of all others similarly situated v. Fifth Third Bancorp, et
        al., Case No. 1:20-cv-02176 (N.D.Ill). The case brings two claims for violation of
        Sections 10(b) and 20(a) of the Securities Exchange Act, alleging that the
        Defendants made material misstatements and omissions in connection with the
        alleged unauthorized opening of credit card, savings, checking, online banking and
        early access accounts from 2010 through 2016. The plaintiff seeks certification of
        a class, unspecified damages, attorney fees and costs. Fifth Third believes that the
        facts do not warrant litigation and intends to vigorously defend itself in this matter.

        228.    The Company is now subject to putative consumer class actions based on similar

facts as the CFPB Action, including Hartt v. Fifth Third Bancorp, Docket No. 1:20-cv-00547 (S.D.

Ohio Jul 14, 2020) and Zanni v. Fifth Third Bancorp et al., Docket No. 1:20-cv-03407 (N.D. Ill.

Jun 10, 2020)29 (collectively, the “Consumer Class Actions”).

        229.    The Consumer Class Actions allege that the misconduct described herein resulted

in the Company violating the Ohio Consumers Sales Practices Act, the Truth In Lending Act, the

Fair Credit Reporting Act, and the Electronic Funds Transfer Act.

     DAMAGES TO FIFTH THIRD CAUSED BY THE INDIVIDUAL DEFENDANTS

        230.    As a direct and proximate result of the Individual Defendants’ misconduct, the

Individual Defendants allowed for materially inadequate controls over the Company’s policies and

practices, caused the Company to issue materially false and misleading statements, sought to

protect themselves personally and financially to the detriment of the Company, Plaintiffs, and all




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  This case was originally filed in the Circuit Court for Cook County on April 29, 2020, styled as Joanne
Zanni, on behalf of herself and all other persons similarly situated, known and unknown v. Fifth Third
Bancorp and Fifth Third Bank, National Association, Cook County Case No. 2020CH04022.


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other stockholders, and substantially damaged the Company’s credibility, corporate image and

goodwill.

       231.    Fifth Third has expended and will continue to expend significant sums of money.

Additional expenditures and damages that the Company has incurred as a result of the Individual

Defendants’ breaches of their fiduciary duty include:

               a.      Costs incurred from compensation and benefits paid to the Individual

                       Defendants who have breached their duties to the Company;

               b.      Costs incurred from investigating, defending and paying any settlement or

                       judgment in connection with the CFPB Action;

               c.      Costs incurred from investigating, defending and paying any settlement or

                       judgment in connection with enforcement actions brought by state and

                       federal agencies for violations of federal and state consumer protection acts;

               d.      Costs incurred from investigating, defending and paying any settlement or

                       judgment in connection with the Consumer Class Actions and other lawsuits

                       brought on behalf of the Company’s customers;

               e.      Costs incurred from investigating, defending and paying any settlement or

                       judgment in connection with the Securities Class Action; and

               f.      Costs incurred from the loss of Fifth Third’s customers’ confidence in the

                       Company’s services.

       232.    Further, Fifth Third’s credibility, reputation, and goodwill have likewise been

damaged, and the Company remains exposed to significant potential liability going forward.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       233.    Plaintiffs bring this action derivatively in the right and for the benefit of Fifth Third




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to redress injuries suffered, and to be suffered, by Fifth Third as a direct result of the Individual

Defendants’ multiple breaches of fiduciary duty.

       234.    Plaintiffs are shareholders of Fifth Third, were shareholders of Fifth Third during

the relevant period of the wrongdoing alleged herein and have been shareholders of Fifth Third

continuously since that time.

       235.    Plaintiffs will adequately and fairly represent the interests of the Company and its

shareholders in enforcing and prosecuting Fifth Third’s rights.

       236.    Fifth Third is named as a nominal defendant in this case solely in a derivative

capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

otherwise have. Prosecution of this action, independent of the current Board of Directors, is in the

best interests of the Company.

       237.    The wrongful acts complained of herein subject, and will continue to subject, Fifth

Third to continuing harm because the adverse consequences of the actions are still in effect and

ongoing.

       238.    The wrongful acts complained of herein were unlawfully concealed from Fifth

Third shareholders, including Plaintiffs.

       239.    As a result of the facts set forth herein, Plaintiffs have not made any demand on the

Board to institute this action since demand would be a futile and useless act because the Board is

incapable of making an independent and disinterested decision to institute and vigorously

prosecute this action. The wrongful acts complained of herein show multiple breaches by the

Board of their fiduciary duties of loyalty, care, and good faith.

       240.    At the time this action was initiated, the Board was comprised of fifteen (15)

directors: Defendants Carmichael, Daniels, Harvey, Heminger, Hoover, Mallesch, McCallister,




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Williams, Akins, Bayh, Benitez, Blackburn, and Brumback, and non-parties Feiger and Clement-

Holmes. For the reasons detailed herein, at least eight (8) members of the Board are incapable and

unwilling to institute and vigorously prosecute this action.

       241.    Demand upon the Board is futile because a majority of the Board is already

predisposed to refuse a demand as demonstrated by the Board’s position on the merits of the

allegations set forth within the CFPB Action. As aforementioned in ¶¶ 210 - 17, on March 9, 2020,

the same day that the CFPB PR was issued and the CFPB Action was filed, the Company and

Individual Defendants issued the March 2020 PR, March 2020 Fact Sheet, and March 2020 FAQ.

The March 2020 Responses all indicate that Fifth Third “reject[s] the allegations made by the

[CFPB] in a civil lawsuit.”

       242.    Further, the March 2020 Fact Sheet boasts that “[w]hen a federal court examines

the evidence, we believe it will agree with Fifth Third that the civil suit filed today is unnecessary

and unwarranted.”

       243.    All the while, each of the March 2020 Responses voluntarily admits that Fifth Third

opened Unauthorized Accounts.

       244.    The entire Board, with the exception of non-parties Feiger and Clement-Holmes, is

disqualified from fairly evaluating the derivative claims as demonstrated by the Company’s and

Individual Defendant’s March 2020 Responses. The Board, excluding non-parties Feiger and

Clement-Holmes, is further disqualified from fairly evaluating the derivative claims because they

are responsible for and contributed to the damages suffered by Fifth Third.

       245.    The Board’s failure of oversight reflects a conscious and deliberate disregard of

their fiduciary duties. This constitutes bad faith. As such, the Board faces a substantial likelihood

of liability, rendering demand upon them futile.




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       246.    Demand is additionally futile because the Board willingly supported, approved,

authorized, and/or engaged in the systemic and pervasive misconduct of the Company.

       247.    Demand upon members of the Company’s Audit Committee (Defendants

Blackburn, Harvey, Hoover, McCallister, and Mallesch, collectively referred to as “Audit

Committee Defendants”) would be futile.       Additionally, demand upon Defendants Daniels,

Williams, Benitez, Brumback, and Burris would be futile as each defendant previously served on

the Audit Committee during the alleged misconduct. Pursuant to the Audit Committee Charter,

the Audit Committee members are tasked with oversight responsibilities relating to the Company’s

accounting and financial reporting process and the audits of the Company’s financial statements.

The Audit Committee Charter specifically states, in relevant part:

       The Committee’s primary purposes are to:

              Oversee the accounting and financial reporting processes of the Corporation
               and the audits of the financial statements of the Corporation.

              Provide assistance to the Corporation’s Board by monitoring:

               1.     the integrity of the financial statements of the Corporation,
               2.     the independent auditors’ qualifications and independence,
               3.     the performance of the Corporation’s and its subsidiaries’ internal
                      audit function and independent auditors,
               4.     the Corporation’s system of internal controls, and
               5.     the Corporation’s financial reporting and system of disclosure
                      controls.

              Provide assistance to the Bank’s Board by monitoring:

               1.     the integrity of the financial statements of the Bank,
               2.     the Bank’s system of internal controls,
               3.     the Bank’s financial reporting, and
               4.     the compliance by the Bank with applicable legal and regulatory
                      requirements

              Prepare the Committee report required by the rules of the SEC to be
               included in the Corporation’s annual proxy statement



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       248.    The Audit Committee Defendants are also responsible for oversight of independent

and internal auditors, corporation financial reporting / internal controls, bank financial reporting /

internal controls, bank trust audit, independent auditors, internal audit function, and compliance

oversight. With specific regard to compliance oversight, the Audit Committee Charter charges the

Audit Committee Defendants with:

              Review procedures designed to identify related party transactions that are
               material to the financial statements or otherwise require disclosure.

              Establish procedures and require the Corporation to obtain or provide the
               necessary resources and mechanisms for (i) the receipt, retention and
               treatment of complaints received by the Corporation regarding accounting,
               internal accounting controls or auditing matters, and (ii) the confidential,
               anonymous submission by employees of the Corporation of concerns
               regarding questionable accounting or auditing matters.

              Discuss with management and the independent auditors any correspondence
               with regulators or governmental agencies and any employee complaints or
               published reports which raise material issues regarding the Corporation’s
               financial statements or accounting policies.

              Discuss with the Corporation’s General Counsel and Chief Risk Officer
               legal matters that may have a material impact on the financial statements
               and that may have an impact on the Corporation’s compliance policies.

              Oversee the administration of the Corporation’s Code of Business Conduct
               and establish an enforcement mechanism for the Corporation's Code of
               Business Conduct and Ethics.

              Consider any material waivers of the Corporation's Code of Business
               Conduct and recommend to the Board of Directors of the Corporation
               whether or not to grant such waiver.

              Receive and review reporting regarding calls to the Corporation’s Ethics
               Line.

       249.    The Audit Committee and the Audit Committee Defendants failed to adequately

perform their oversight responsibilities as required by the Audit Committee Charter. Additionally,

based on the Audit Committee Charter, the Audit Committee Defendants were tasked with




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periodically meeting with the Company’s legal counsel and Chief Risk Officer, and therefore, were

aware, or should have been aware, of the impending CFPB Action. Further, the Audit Committee

is responsible for handling reports submitted to the Company’s EthicsLine; however, as mentioned

in ¶ 134, at least one employee noted that the response to reported issues on the Company’s

EthicsLine was non-existent or deficient and according to the CFPB there was an increase in the

number of calls by employees to the EthicsLine (¶ 207).

       250.    As such, the Audit Committee Defendants were aware or should have been aware

of the potential misconduct occurring at the Company by 2011, at the latest. Additionally, the

Audit Committee Defendants “[r]eport to the full Board of Directors on the Committee’s activities

at each meeting of the Board of Directors of the Corporation and the Bank.” Therefore, the Audit

Committee Defendants had the duty to inform the entire Board of the misconduct reported to the

Company’s EthicsLine. As a result, each member of the Board was aware, should have been

aware, or recklessly ignored the misconduct occurring within the Company.

       251.    Moreover, the Audit Committee and the Audit Committee Defendants were

responsible for assisting the Board with the Company’s financial statements, reporting,

disclosures, and the application of legal and regulatory requirements. The Audit Committee

Defendants once again failed to perform their responsibilities as required by the Audit Committee

Charter, as the Audit Committee Defendants permitted the Company and remaining Individual

Defendants to issue materially false and/or misleading SEC filings. As a result, the Audit

Committee Defendants (Blackburn, Harvey, Hoover, McCallister, and Mallesch) face a substantial

likelihood of liability for their breaches of fiduciary duties. Additionally, Defendants Daniels,

Williams, Benitez, Brumback, and Burris face a substantial likelihood of liability for their breaches

of fiduciary duties as the misconduct complained of herein occurred during their prior service on




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the Audit Committee.

        252.    Demand upon members of the Company’s Risk and Compliance Joint Committee

(Defendants Brumback, Daniels, Heminger, Hoover, and Mallesch, collectively the “Risk

Committee Defendants”) would be futile. Pursuant to the Risk and Compliance Joint Committee

Charter, the Risk Committee Defendants are tasked with oversight responsibilities relating to the

“risk management policies of the Corporation’s and the Bank’s global operation and oversight of

its global risk management framework.” Specifically, the Risk and Compliance Joint Committee

Charter states, in relevant part:

        In furtherance of this function, the Committee shall:

           Oversee management’s compliance with all of Fifth Third’s regulatory
            obligations arising under applicable federal and state banking laws, rules and
            regulations;

           Oversee management’s development and implementation of the global Risk
            Management Framework (“Framework”), inclusive of the risk appetite, with an
            enterprise view of risk capacity, risk tolerances, risk limits, and key risk
            indicators which are integral components of the Framework. In addition, the
            Framework includes consistent processes for identifying, assessing, managing,
            monitoring and reporting risks of all types, including the categories of credit
            risk, market risk, liquidity risk, operational risk, regulatory compliance risk,
            legal risk, reputation risk and strategic risk;
                                          *       *       *
           Ensure that risk processes are supported by a risk governance structure that
            includes oversight by the Boards of Directors of the Corporation and the Bank,
            policies, risk limits, and risk committees, and further by a culture that supports
            risk management objectives and reflects appropriate accountability by all lines
            of defense.

           Oversee the Company’s supervisory issues and enforcement actions and the
            Corporation’s efforts to remediate them.
                                         *       *   *

        5. Operational Risk

           Develop and maintain an Operational Risk Management Policy (the “OR
            Policy”), which shall be discussed by the Committee with management.



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      Following such discussion, and after taking into consideration any matters as
      the Committee may deem advisable and appropriate, including management’s
      recommendation, the Committee shall annually recommend the OR Policy to
      the Boards of Directors of the Corporation and the Bank for approval. In
      addition, the Committee may authorize management to develop and implement
      any additional detailed policies and procedures relating to operational risk as
      may be consistent with the OR Policy.

     Review management reports relating to operational risk issues in areas
      including but not limited to: fraud; development of material products and
      services; execution, delivery and process management; acquisition integration
      issues; technology risks and technology strategies; cybersecurity incidents and
      privacy breaches; business disruption and system failures; and business
      practices generally.

  6. Legal Risk

     Management shall develop and maintain a Legal Risk Management Policy (the
      “Legal Risk Policy”), which policy shall be discussed by the Committee with
      management. Following such discussion, and after taking into consideration
      any matters as the Committee may deem advisable and appropriate, including
      management’s recommendation, the Committee shall annually recommend the
      Legal Risk Policy to the Boards of Directors of the Corporation and the Bank
      for approval. In addition, the Committee may authorize management to develop
      and implement any additional detailed policies and procedures relating to legal
      risk as may be consistent with the Legal Risk Policy.

     Review management reports relating to legal risk issues in areas including but
      not limited to: material litigation, legal settlements and defense complaints.

  7. Reputation Risk

     Management shall develop and maintain a Reputation Risk Management Policy
      (the “RR Policy”), which policy shall be discussed by the Committee with
      management. Following such discussion, and after taking into consideration
      any matters as the Committee may deem advisable and appropriate, including
      management’s recommendation, the Committee shall annually recommend the
      RR Policy to the Boards of Directors of the Corporation and the Bank for
      approval. In addition, the Committee may authorize management to develop
      and implement any additional detailed policies and procedures relating to
      reputation risk as may be consistent with the RR Policy.

     Review management reports relating to reputation risk issues in areas including
      but not limited to: customer complaint trends, corporate reputation, and media
      tracking.



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       253.    Moreover, according to the Company’s 2019 10-K

       Fifth Third also focuses on the reporting and escalation of operational control issues
       to senior management and the Board of Directors. The Operational Risk Committee
       is the key committee that oversees and supports Fifth Third in the management of
       operational risk across the enterprise. The Operational Risk Committee reports to
       the ERMC, which reports to the Risk and Compliance Joint Committee of the Board
       of Directors of Fifth Third Bancorp and Fifth Third Bank, National Association.

       254.    The Risk Committee Defendants failed to adequately perform their oversight

responsibilities as required by the Risk and Compliance Joint Committee Charter. Additionally,

based on the Company’s Risk and Compliance Joint Committee Charter, the Risk Committee

Defendants were aware, should have been aware, or willfully ignored the Company’s regulatory

violations with regard to the Unauthorized Accounts and/or predatory nature of Fifth Third Bank

employees and management.

       255.    Furthermore, the Risk and Compliance Joint Committee and the Risk Committee

Defendants were responsible for addressing and overseeing the Company’s operational risk, legal

risk, and reputational risk. The Risk Committee again failed to perform their responsibilities as

required by the Risk and Compliance Joint Committee Charter as the Risk Committee Defendants

permitted the Company to allegedly violate federal and state banking laws, rules, and regulations,

and similarly, failed to ensure that reported instances of misconduct were adequately addressed

and remediated to prevent reputational harm. As a result, the Risk Committee Defendants

(Brumback, Daniels, Heminger, Hoover, and Mallesch) face a substantial likelihood of liability

for their breaches of fiduciary duties.

       256.    Demand upon members of the Company’s Finance Joint Committee (Defendants

Heminger, Akins, Benitez, Brumback, McCallister, and Williams, collectively the “Finance

Committee Defendants”) would be futile. Pursuant to the Finance Joint Committee Charter, the

Finance Committee Defendants are empowered with the ability “to exercise, during the intervals



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between the meetings of the Board of Directors, all the powers of the Board of Directors of the

Corporation and the Bank in the management of the business, properties and affairs of the

Corporation and the Bank that may be permissibly exercised by a committee thereof.”

       257.    The Company’s Finance Joint Committee Charter, permits the Finance Committee

Defendants to act on behalf of the Board and utilize powers given to other committees. As such,

the Finance Committee Defendants failed to perform their responsibilities required by the Finance

Joint Committee Charter as the Finance Committee Defendants failed to address the Company’s

alleged violations of federal and state banking laws, rules, and regulations, and similarly failed to

ensure that reported instances of misconduct were adequately addressed and remediated. As a

result, the Finance Committee Defendants (Defendants Heminger, Akins, Benitez, Brumback,

Mallesch, McCallister, and Williams) face a substantial likelihood of liability for their breach of

fiduciary duties.

       258.    Demand upon members of the Company’s Human Capital and Compensation

Committee (Defendants McCallister, Brumback, Heminger, Williams, and Mallesch, collectively

the “Compensation Committee Defendants”) would be futile. Pursuant to the Human Capital and

Compensation Committee Charter:

       The Committee’s primary purposes are to:

          Discharge the Corporation’s responsibilities relating to the compensation of the
           Corporation’s Executive Officers. The Committee has overall responsibility for
           overseeing the benefit, bonus, incentive compensation, severance, equity-based
           or other compensation plans, policies and programs of the Corporation and its
           subsidiaries.

          Oversee management’s development and implementation of the incentive
           compensation strategy for the Corporation.

          Oversee the incentive compensation plans, policies and programs
           encompassing those employees of the Corporation and its subsidiaries who,




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           either individually or as part of a group, have the ability to expose the
           Corporation to material risk (“Covered Employees”).

          Implement Chief Executive Officer (“CEO”) succession planning.

          Make recommendations regarding director compensation to the Board of
           Directors.

          Prepare the annual report on executive compensation for inclusion in the
           Corporation’s proxy statement, including review and discussion of the
           Compensation Discussion & Analysis with Management and disclosure of
           whether the Committee has retained or obtained the advice of a compensation
           consultant and if the work of the compensation consultant has raised any
           conflict of interest and, if so, the nature of the conflict and how it is being
           addressed.

(Emphasis added).

       259.    Additionally, the Human Capital and Compensation Committee is responsible for

executive compensation/approval of transactions, as well as risk and compliance oversight with

regard to the Company’s incentive compensation strategy.

       260.    The Human Capital and Compensation Committee and the Compensation

Committee Defendants failed to adequately perform their oversight responsibilities as required by

the Human Capital and Compensation Committee Charter. Additionally, based on the Company’s

Human Capital and Compensation Committee Charter, the Compensation Committee Defendants

drafted, approved, and supported the questionable incentive-based compensation as alleged in this

Complaint, the CFPB Action, and the Securities Class Action. Further, the Compensation

Committee Defendants determined, should have determined, or willfully ignored the risk of

potential harm to the Company through Fifth Third’s incentive-based compensation structure.

Moreover, the Compensation Committee Defendants failed to

              Identify and limit features of:

               a. Executive Officer compensation plans that could lead the officer to take
               unnecessary and excessive risks;


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                 b. Employee compensation plans that pose risks to ensure the Corporation
                 is not unnecessarily exposed to risk; and

                 c. Both Executive Officer and employee compensation plans that encourage
                 behavior focused on short-term results rather than long-term value creation.

          261.   As such, the Human Capital and Compensation Committee failed to perform their

responsibilities as required by the Human Capital and Compensation Committee Charter.

Therefore, the Compensation Committee Defendants (McCallister, Brumback, Heminger,

Williams, and Mallesch) face a substantial likelihood of liability for their breaches of fiduciary

duties.

          262.   Demand upon members of the Company’s Nominating and Corporate Governance

Committee (Defendants Akins, Bayh, Benitez, Blackburn, Harvey, and Williams, collectively the

“Corporate Governance Committee Defendants”) would be futile. Pursuant to the Company’s

Nominating and Corporate Governance Committee:

          The Committee's primary purposes are to:

                Develop and recommend to the Board of Directors corporate governance
                 policies and guidelines for the Corporation and for identifying and
                 nominating director and committee member candidates; and

                Nominate directors for election to the Board of Directors and recommend
                 appointment to committee membership.

          263.   Additionally, the Corporate Governance Committee Defendants are responsible for

annually reviewing:

          the corporate governance policies of the Corporation, including Corporate
          Governance Guidelines, and Code of Business Conduct and Ethics and the
          Government Affairs Policy, to ensure that they are appropriate for the Corporation
          and comply with applicable laws, regulations and listing standards, and to
          recommend any desirable changes to the Board of Directors.

          264.   The Corporate Governance Committee Defendants failed to act in good faith in the

performance of their responsibilities outlined in the Nominating and Corporate Governance



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Committee Charter. The Corporate Governance Committee Defendants were aware, should have

been aware, or willfully ignored the allegations contained within this Complaint, the CFPB Action,

and the Securities Class Action; yet, the Corporate Governance Committee Defendants continued

to nominate the same set of directors for service on the Board. The lack of action by the Corporate

Governance Committee Defendants permitted the aforementioned allegations and harm to

perpetually continue. As a result, the Corporate Governance Committee Defendants (Defendants

Akins, Bayh, Benitez, Blackburn, Harvey, and Williams) face a substantial likelihood of liability

for their breaches of fiduciary duties.

       265.    As admitted by Fifth Third in the March 2020 Responses, the Company was aware

of over 1,000 Unauthorized Accounts opened between 2010 and 2016. Additionally, as alleged in

¶ 137, Fifth Third internally tracked purported cases of “gaming,” which more likely than not

directly relate to the Unauthorized Accounts. Despite being put on notice, internally tracking

“gaming,” and receiving 424 complaints regarding unauthorized accounts, the Board failed to

address, rectify, and remediate the issues surrounding the Unauthorized Accounts and has

demonstrated an unwillingness to act.

       266.    Furthermore, the Board’s intentional and knowing failure to make proper and/or

complete disclosures and concerted effort to conceal facts from the public at large demonstrates

that demand upon the Board would be a futile and useless act.

       267.    Demand upon the Director Defendants (defined below) would be futile. As

aforementioned, the unlawful conduct complained of herein has been perpetuated for over a decade

at Fifth Third. The Director Defendants are or should be on notice of the unlawful conduct;

however, the Director Defendants have either failed or willfully ignored the need for corrective

action, causing a demand upon the Director Defendants to be futile.




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       268.    Fifth Third has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Board has not filed any lawsuits against themselves or

the other Individual Defendants to attempt to recover for the Company any part of the damages

that the Company suffered and will continue to suffer thereby. Thus, any demand upon the board

would be futile.

       269.    The Board is composed of nine (9) longstanding directors who were members of

the Board when the misconduct described herein was occurring: Heminger (director since 2006),

Williams (director since 2008), Hoover (director since 2009), Brumback (director since 2009),

McCallister (director since 2011), Bayh (director since 2011), Akins (director since 2013),

Blackburn (director since 2014), and Benitez (director since 2015). These directors were on notice,

or should have been on notice, of the issues involving the Unauthorized Accounts and other

misconduct.

       270.    In addition to the above, for the following reasons demand upon Defendant

Carmichael would be futile. Carmichael serves as the Company’s Chairman, CEO, and President,

and therefore, as conceded by the Company, he is not independent. Further, Carmichael is named

as a defendant in the Securities Class Action. Carmichael is responsible for and signed the false

and misleading 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-K and 2019

Form 10-K, as well as the respective SOX certifications. Therefore, Carmichael is not independent

and cannot disinterestedly consider a demand and faces a substantial likelihood of liability.

       271.    In addition to the above, for the following reasons demand upon Defendant

Daniels would be futile. Daniels serves on the Company’s Risk and Compliance Committee, as

well as the Technology Committee.         Previously, Daniels served on the Company’s Audit

Committee, as such Daniels was aware or should have been aware of the misconduct alleged herein




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and failed to effectively remediate the damage caused to the Company. Prior to joining the

Company’s Board, Daniels served as a director of MB Financial and upon Fifth Third’s acquisition

of MB Financial Daniels was appointed to the Board. Further, Daniels cannot disinterestedly

consider a demand made with regard to Defendant Harvey or non-party Feiger due to their prior

relationship at MB Financial. All three (Daniels, Harvey, and Feiger) served at MB Financial prior

to the merger with the Company, and all three have been appointed to the Board of Fifth Third as

a result. Daniels is the co-founder and principal of Prairie Capital, a private equity firm, that has

done business with MB Financial and Fifth Third. Moreover, Daniels beneficially owns 208,324

shares of the Company’s common stock and, in 2019, received $176,075 in compensation. Daniels

signed the 2019 Form 10-K that contained false and misleading statements. Therefore, Daniels

cannot disinterestedly consider a demand and faces a substantial likelihood of liability.

       272.    In addition to the above, for the following reasons, demand upon Defendant

Harvey would be futile. Harvey serves on the Company’s Audit Committee, Nominating and

Corporate Governance Committee, and Technology Committee. Previously, Harvey served on the

Company’s Risk and Compliance Committee. Harvey was aware or should have been aware of

the misconduct alleged herein and failed to effectively remediate the damage caused to the

Company. Prior to joining the Company’s Board, Harvey served as a chairman of MB Financial

and upon Fifth Third’s acquisition of MB Financial Harvey was appointed to the Board. Further,

Harvey cannot disinterestedly consider a demand made with regard to Defendant Daniels or non-

party Feiger due to their prior relationship at MB Financial. All three (Daniels, Harvey, and

Feiger) served at MB Financial prior to the merger with the Company, and all three have been

appointed to the Board of Fifth Third as a result. Moreover, Harvey beneficially owns 188,968

shares of the Company’s common stock, and in 2019, received $176,075 in compensation. Harvey




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signed the 2019 Form 10-K that contained false and misleading statements. Therefore, Harvey

cannot disinterestedly consider a demand and faces a substantial likelihood of liability.

       273.    In addition to the above, for the following reasons, demand upon Defendant

Heminger would be futile. Heminger serves as chairman of the Finance Committee and serves

on the Human Capital and Compensation Committee, as well as the Risk and Compliance

Committee.     Previously, Heminger served on the Nominating and Corporate Governance

Committee. Heminger was aware or should have been aware of the misconduct alleged herein and

failed to effectively address, respond to, and remediate the damage caused to the Company in

accordance with his fiduciary duties. Further, Heminger cannot disinterestedly consider a demand

made with regard to Defendant Bayh. Heminger is CEO and Chair of Marathon Petroleum

Corporation and Defendant Bayh previously served on Marathon Petroleum Corporation’s board.

Moreover, Heminger beneficially owns 76,502 shares of the Company’s common stock and, in

2019, Heminger received $265,000 in compensation. Heminger signed the false and misleading

2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-K and 2019 Form 10-K. Therefore, Heminger

cannot disinterestedly consider a demand and faces a substantial likelihood of liability.

       274.    In addition to the above, for the following reasons, demand upon Defendant

Hoover would be futile. Hoover serves on the Company’s Audit Committee, as well as the Risk

and Compliance Committee. Previously, Hoover served as the chairwoman of the Risk and

Compliance Committee, and also served on the Finance Committee. Hoover was aware or should

have been aware of the misconduct alleged herein and failed to address, respond to, and remediate

the damage caused to the Company in accordance with her fiduciary duties. Moreover, Hoover

beneficially owns 57,976 shares of the Company’s common stock and, in 2019, received $265,000

in compensation. Hoover signed the false and misleading 2016 Form 10-K, 2017 Form 10-K,




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2018 Form 10-K and 2019 Form 10-K. Therefore, Hoover cannot disinterestedly consider a

demand and faces a substantial likelihood of liability.

       275.    In addition to the above, for the following reasons demand upon Defendant

Mallesch would be futile.       Mallesch serves as the chairwoman of the Company’s Audit

Committee, and serves on the Finance Committee, Human Capital and Compensation Committee,

and Risk and Compliance Committee. Mallesch was aware or should have been aware of the

misconduct alleged herein and failed to address, respond to, and remediate the damage caused to

the Company in accordance with her fiduciary duties. Further, Mallesch cannot disinterestedly

consider a demand made with regard to Defendants Carmichael and Burris. Mallesch previously

served as CFO at General Electric (“GE”), Burris held numerous management positions with GE

for nearly twenty (20) years, and Carmichael held multiple leadership roles with GE. Moreover,

Mallesch beneficially owns 23,541 shares of the Company’s common stock and, in 2019, received

$220,000 in compensation. Mallesch signed the false and misleading 2016 Form 10-K, 2017 Form

10-K, 2018 Form 10-K and 2019 Form 10-K. Therefore, Mallesch cannot disinterestedly consider

a demand and faces a substantial likelihood of liability.

       276.    In addition to the above, for the following reasons demand upon Defendant

McCallister would be futile.       McCallister serves as chairman of the Human Capital and

Compensation Committee, and also serves on the Finance Committee and the Audit Committee.

McCallister was aware or should have been aware of the misconduct alleged herein and failed to

address, respond to, and remediate the damage caused to the Company in accordance with his

fiduciary duties. Moreover, McCallister beneficially owns 59,566 shares of the Company’s

common stock and, in 2019, received $235,000 in compensation. McCallister signed the false and

misleading 2015 Form 10-K, 2017 Form 10-K, 2018 Form 10-K and 2019 Form 10-K. Therefore,




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McCallister cannot disinterestedly consider a demand and faces a substantial likelihood of liability.

        277.    In addition to the above, for the following reasons demand upon Defendant

Williams would be futile. Williams serves on the Company’s Finance Committee, Human Capital

and Compensation Committee, and Nominating and Corporate Governance Committee.

Previously, Williams served on the Company’s Audit Committee, as well as the Risk and

Compliance Committee. Williams was aware or should have been aware of the misconduct alleged

herein and failed to address, respond to, and remediate the damage caused to the Company in

accordance with her fiduciary duties. Moreover, Williams beneficially owns 77,508 shares of the

Company’s common stock and, in 2019, received $300,000 in compensation. Williams signed the

false and misleading 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, and 2019 Form 10-K.

Therefore, Williams cannot disinterestedly consider a demand and faces a substantial likelihood

of liability.

        278.    In addition to the above, for the following reasons demand upon Defendant Akins

would be futile.    Akins serves as chairman of the Company’s Nominating and Corporate

Governance Committee and is a member of the Company’s Finance Committee and Technology

Committee. Previously, Akins served on the Company’s Human Capital and Compensation

Committee. Akins was aware or should have been aware of the misconduct alleged herein and

failed to address, respond to, and remediate the damage caused to the Company in accordance with

his fiduciary duties. Moreover, Akins beneficially owns 38,494 shares of the Company’s common

stock and, in 2019, received $230,000 in compensation. Akins signed the false and misleading

2015 Form 10-K, 2017 Form 10-K, and 2019 Form 10-K. Therefore, Akins cannot disinterestedly

consider a demand and faces a substantial likelihood of liability.

        279.    In addition to the above, for the following reasons demand upon Defendant Bayh




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would be futile.     Bayh serves on the Company’s Nominating and Corporate Governance

Committee, as well as the Technology Committee. Bayh previously served on the Company’s

Risk and Compliance Committee. Bayh was aware or should have been aware of the misconduct

alleged herein and failed to address, respond to, and remediate the damage caused to the Company

in accordance with his fiduciary duties. Further, Bayh cannot disinterestedly consider a demand

made with regard to Defendant Heminger. Defendant Bayh previously served on the board of

Marathon Petroleum Corporation and Heminger is CEO and Chair of Marathon Petroleum

Corporation. Moreover, Bayh beneficially owns 23,981 shares of the Company’s common stock

and, in 2019, received $220,000 in compensation. Bayh signed the false and misleading 2015

Form 10-K, 2017 Form 10-K, 2018 Form 10-K and 2019 Form 10-K. Therefore, Bayh cannot

disinterestedly consider a demand and faces a substantial likelihood of liability.

        280.    In addition to the above, for the following reasons demand upon Defendant

Benitez would be futile. Benitez serves as the chairman of the Company’s Technology Committee

and serves on the Company’s Finance Committee and the Nominating and Corporate Governance

Committee. Previously, Benitez served on the Company’s Audit Committee and the Risk and

Compliance Committee. Benitez was aware or should have been aware of the misconduct alleged

herein and failed to address, respond to, and remediate the damage caused to the Company in

accordance with his fiduciary duties. Moreover, Benitez beneficially owns 26,856 shares of the

Company’s common stock and, in 2019, received $230,000 in compensation. Benitez signed the

false and misleading 2015 Form 10-K, 2016 Form 10-K, 2017 Form 10-K, 2018 Form 10-K and

2019 Form 10-K. Therefore, Benitez cannot disinterestedly consider a demand and faces a

substantial likelihood of liability.

        281.    In addition to the above, for the following reasons demand upon Defendant




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Blackburn would be futile. Blackburn serves on the Company’s Audit Committee and the

Nominating and Corporate Governance Committee.             Previously, Blackburn served on the

Company’s Risk and Compliance Committee. Blackburn was aware or should have been aware

of the misconduct alleged herein and failed to address, respond to, and remediate the damage

caused to the Company in accordance with her fiduciary duties. Further, Blackburn’s appointment

to the Board occurred in 2014 which coincides with a five (5) year contract extension with the

Cincinnati Bengals worth $7.9 million. Blackburn serves as the Executive Vice President of the

Cincinnati Bengals and is deriving a direct benefit from Fifth Third. Moreover, Blackburn

beneficially owns 111,734 shares of the Company’s common stock and, in 2019, received

$220,000 in compensation. Blackburn signed the false and misleading 2015 Form 10-K, 2016

Form 10-K, 2017 Form 10-K, 2018 Form 10-K and 2019 Form 10-K. Therefore, Blackburn cannot

disinterestedly consider a demand and faces a substantial likelihood of liability.

        282.    In addition to the above, for the following reasons demand upon Defendant

Brumback would be futile. Brumback serves as the chairman of the Company’s Risk and

Compliance Committee, and serves on the Company’s Finance Committee and the Human Capital

and Compensation Committee. Previously, Brumback served as the chairman of the Audit

Committee and served on the Finance Committee. Brumback was aware or should have been

aware of the misconduct alleged herein and failed to address, respond to, and remediate the damage

caused to the Company in accordance with his fiduciary duties. Moreover, Brumback beneficially

owns 66,471 shares of the Company’s common stock and, in 2019, received $255,000 in

compensation. Therefore, Brumback cannot disinterestedly consider a demand and faces a

substantial likelihood of liability.

        283.    In addition to the above, for the following reasons demand upon non-party Feiger




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would be futile. Feiger was appointed to the Board on June 15, 2020. Prior to his appointment,

Feiger was the CEO of MB Financial, and once acquired by Fifth Third, Feiger served as Chairman

and CEO of Fifth Third Bank (Chicago). The Company intends to recommend Feiger to the

Nominating and Corporate Governance Committee. Feiger’s previous position at MB Financial

overlaps with Defendants Daniels and Harvey. As aforementioned, upon Fifth Third’s acquisition

of MB Financial, Harvey and Daniels were appointed to the Board, and now Feiger has received

the same appointment. Further, Feiger cannot disinterestedly consider a demand made with regard

to Defendant Harvey or Daniels due to their prior relationship at MB Financial. All three (Daniels,

Harvey, and Feiger) served at MB Financial prior to the merger with the Company, and all three

have been appointed to the Board of Fifth Third as a result. Moreover, according to a SEC Form

4 filed on June 16, 2020, Feiger beneficially owns 586,715 shares of the Company’s common

stock. The amount of Feiger’s holding significantly dwarfs the other members of the Board.

Therefore, Feiger cannot disinterestedly consider a demand and faces a substantial likelihood of

liability.

        284.   As described, many members of the Board have longstanding business and personal

relationships with each other precluding them from acting independently and in favor of or support

of shareholders’ interests.

        285.   The Board’s conduct described herein and summarized above demonstrates a

pattern of misconduct that could not have been the product of legitimate business judgment, as it

was based on intentional, reckless, grossly negligent, and disloyal misconduct. The Board’s

misconduct – through both their intentional actions and conscious inaction – was in bad faith and

breached their duty of loyalty. Thus, none of the Board can claim exculpation from their violations

of duty pursuant to the Company’s charter (to the extent such a provision exists).




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       286.    As a majority of the Board faces a substantial likelihood of liability, they are self-

interested in the conduct, policies, and procedures complained of herein and cannot be presumed

to be capable of exercising independent and disinterested judgment about whether to pursue this

action on behalf of the Company.

       287.    Furthermore, Demand upon the Board is futile because a majority of the Board has

demonstrated that their personal and financial interests are superior to those of Fifth Third. As

aforementioned, a mere two (2) weeks after the filing of the CFPB Action the Individual

Defendants authorized the Amended Regulations which fully indemnified the Individual

Defendants to the fullest extent permitted by law.

       288.    Additionally, the Amended Regulations authorized and adopted by the Individual

Defendants permit the Individual Defendants, as well as other executives and employees, to

receive advanced expense payments on their behalf, including expenses related to attorney’s fees.

       289.    The Amended Regulations approved by the Individual Defendants demonstrates

that the Board and certain executive officers are not acting in the best interests of Fifth Third, and

instead are elevating their own interests above the interests of the Company. As such demand

upon the Board is futile.

       290.    The Board may also be protected against personal liability for their acts of

mismanagement and breaches of fiduciary duty alleged herein by directors and officers liability

insurance if they caused the Company to purchase it for their protection with corporate funds. If

there is a directors and officers liability insurance policy covering the Board, it may contain a

provision that eliminates coverage for any action brought directly by the Company against the

Board, known as the “insured-versus-insured exclusion.” As a result, if the Board was to sue

themselves or certain of the officers of the Company, there would be no directors and officers




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insurance protection.     Accordingly, the Board cannot be expected to bring such a suit.

Alternatively, if the suit is brought derivatively, such an insurance policy will provide a basis for

the Company to effectuate a recovery.

       291.    If there is no directors and officers liability insurance, the Board will not instruct

Fifth Third to sue the Individual Defendants, including themselves, because they would face a

large uninsured individual liability if they did. Consequently, demand would also be futile.

       292.    Based on the foregoing, the Board faces a sufficiently substantial likelihood of

liability and, accordingly, there is a reasonable doubt as to each Board member’s disinterestedness

in deciding whether pursuing legal action would be in the Company’s best interest. Additionally,

the Board has repeatedly failed to act and have shown their unwillingness to address the

Unauthorized Accounts, and the illegitimate and unethical practices employed by Fifth Third,

which indicates that demand upon the Director Defendants is futile. Accordingly, demand upon

the Director Defendants is excused as being futile.

                                     CAUSES OF ACTION

                                            COUNT I

                (Against Defendant Carmichael for Breach of Fiduciary Duty)

       293.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       294.    Defendant Carmichael owed and owes Fifth Third fiduciary obligations, including

the obligations of good faith, loyalty, and care. Among other things, Defendant Carmichael owed

and owes a fiduciary duty to Fifth Third to disseminate accurate, truthful, and complete

information to the Company’s shareholders.

       295.    Defendant Carmichael has a duty to Fifth Third and its shareholders to prudently




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supervise, manage, and control the operations, business and internal financial accounting, and

disclosures of the Company.

       296.    As alleged herein, Defendant Carmichael had and has a fiduciary duty to, among

other things, exercise good faith to ensure that the Company’s business practices were maintained

in good faith and, when put on notice of problems with the Company’s business practices and

operations by customers, state officials and regulators, and other members of the public, exercise

good faith in taking appropriate action to correct the misconduct and prevent its recurrence.

       297.    Defendant Carmichael breached his duties of loyalty, care, and good faith by:

(i) failing to implement and enforce a system of effective internal controls and procedures;

(ii) failing to exercise their oversight duties by not monitoring the Company’s compliance with

state and federal laws and the Company’s internal policies and procedures; (iii) consciously

disregarding and failing to ensure that the Company was following proper sales practices, resulting

in the commencement of the CFPB Action and the Securities Class Action; (iv) failing to fully,

fairly, and timely disclose the scope and impact of the improper sales practices taught to and used

by the Company’s employees and managers; (v) failing to timely take corrective action to reduce

and/or eliminate the illegal sales practices taught to and used by the Company’s employees and

managers; (vi) failing to revise the Company’s incentive pay structure to reduce the likely hood of

employees and managers engaging in unlawful sales practices; (vii) making and/or causing the

Company to make false and misleading statements and/or material omissions resulting in the

commencement of the Securities Class Action; (viii) allowing the Company to violate multiple

federal and state laws and regulations; (ix) failing to take appropriate remedial action when the

Board knew, or should have known, that there was pervasive misconduct at the Company;

(x) failing to act in the best interests of the Company and instead acting for their own self-interest;




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and (xi) consciously causing substantial damage to the Company’s credibility, corporate image,

and goodwill.

       298.     Defendant Carmichael’s actions could not have been a good faith exercise of

prudent business judgment.

       299.     Defendant Carmichael had actual or constructive knowledge that the Company

issued materially false and misleading statements, and he failed to correct the Company’s public

statements and representations or, in the alternative, cause the corrections to be issued by another

director or officer of Fifth Third.       Defendant Carmichael had actual knowledge of the

misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

for the truth, in that Defendant Carmichael failed to ascertain and to disclose such facts even

though such facts were readily available. Such material misrepresentations and omissions were

committed knowingly or recklessly.

       300.     Defendant Carmichael had actual or constructive knowledge that the Company was

engaging in the practices as set forth herein, and that internal controls and procedures were not

adequately maintained and applied.

       301.     As a direct and proximate result of Defendant Carmichael’s foregoing breaches of

his fiduciary duties, the Company has suffered and will continue to suffer significant damages, as

alleged herein. As a result of the misconduct alleged herein, Defendant Carmichael is liable to the

Company.

       302.     Defendant Carmichael’s misconduct – through both his actions and conscious

inaction – cannot be exculpated.

       303.     Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.




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                                           COUNT II

(Against Defendants Daniels, Harvey, Heminger, Hoover, Mallesch, McCallister, Williams,
  Akins, Bayh, Benitez, Blackburn, Brumback, and Burris (“Director Defendants”) for
                               Breach of Fiduciary Duty)

       304.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       305.    The Director Defendants owed and owe Fifth Third fiduciary obligations, including

the obligations of good faith, loyalty, and care. Among other things, the Director Defendants owed

and owe a fiduciary duty to Fifth third to disseminate accurate, truthful, and complete information

to the Company’s shareholders.

       306.    The Director Defendants have a duty to Fifth Third and its shareholders to prudently

supervise, manage, and control the operations, business and internal financial accounting, and

disclosures of the Company.

       307.    As alleged herein, the Director Defendants had and have a fiduciary duty to, among

other things, exercise good faith to ensure that the Company’s business practices were maintained

in good faith and, when put on notice of problems with the Company’s business practices and

operations by customers, state officials and regulators, and other members of the public, exercise

good faith in taking appropriate action to correct the misconduct and prevent its recurrence.

       308.    The Director Defendants breached their duties of loyalty, care and good faith by:

(i) failing to implement and enforce a system of effective internal controls and procedures;

(ii) failing to exercise their oversight duties by not monitoring the Company’s compliance with

state and federal laws and the Company’s internal policies and procedures; (iii) consciously

disregarding and failing to ensure that the Company was following proper sales practices, resulting

in the commencement of the CFPB Action and the Securities Class Action; (iv) failing to fully,




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fairly, and timely disclose the scope and impact of the improper sales practices taught to and used

by the Company’s employees and managers; (v) failing to timely take corrective action to reduce

and/or eliminate the illegal sales practices taught to and used by the Company’s employees and

managers; (vi) failing to revise the Company’s incentive pay structure to reduce the likely hood of

employees and managers engaging in unlawful sales practices; (vii) making and/or causing the

Company to make false and misleading statements and/or material omissions resulting in the

commencement of the Securities Class Action; (viii) allowing the Company to violate multiple

federal and state laws and regulations; (ix) failing to take appropriate remedial action when the

Board knew, or should have known, that there was pervasive misconduct at the Company;

(x) failing to act in the best interests of the Company and instead acting for their own self-interest;

and (xi) consciously causing substantial damage to the Company’s credibility, corporate image,

and goodwill.

       309.     The Director Defendants’ actions could not have been a good faith exercise of

prudent business judgment.

       310.     The Director Defendants had actual or constructive knowledge that the Company

issued materially false and misleading statements and failed to correct the Company’s public

statements and representations or, in the alternative, cause the corrections to be issued by another

director or officer of Fifth Third.      The Director Defendants had actual knowledge of the

misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

for the truth, in that the Director Defendants failed to ascertain and to disclose such facts even

though such facts were readily available. Such material misrepresentations and omissions were

committed knowingly or recklessly.

       311.     The Director Defendants had actual or constructive knowledge that the Company




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was engaging in the practices as set forth herein, and that internal controls and procedures were

not adequately maintained and applied.

       312.    As a direct and proximate result of the Director Defendants’ foregoing breaches of

their fiduciary duties, the Company has suffered and will continue to suffer significant damages,

as alleged herein. As a result of the misconduct alleged herein, Director Defendants are liable to

the Company.

       313.    The Director Defendants’ misconduct – through both their actions and conscious

inaction – cannot be exculpated.

       314.    Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.

                                           COUNT III

       (Against Defendants Tuzun and Forrest (“Officer Defendants”) for Breach of
                                   Fiduciary Duty)

       315.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       316.    The Officer Defendants owed and owe Fifth Third fiduciary obligations, including

the obligations of good faith, loyalty, and care. Among other things, the Officer Defendants owed

and owe a fiduciary duty to Fifth Third to disseminate accurate, truthful, and complete information

to the Company’s shareholders.

       317.    The Officer Defendants have a duty to Fifth Third and its shareholders to prudently

supervise, manage, and control the operations, business and internal financial accounting, and

disclosures of the Company.

       318.    As alleged herein, the Officer Defendants had and have a fiduciary duty to, among

other things, exercise good faith to ensure that the Company’s business practices were maintained

in good faith and, when put on notice of problems with the Company’s business practices and


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operations by customers, state officials and regulators, and other members of the public, exercise

good faith in taking appropriate action to correct the misconduct and prevent its recurrence.

       319.     The Officer Defendants breached their duties of loyalty, care and good faith by:

(i) failing to implement and enforce a system of effective internal controls and procedures;

(ii) failing to exercise their oversight duties by not monitoring the Company’s compliance with

state and federal laws and the Company’s internal policies and procedures; (iii) consciously

disregarding and failing to ensure that the Company was following proper sales practices, resulting

in the commencement of the CFPB Action and the Securities Class Action; (iv) failing to fully,

fairly, and timely disclose the scope and impact of the improper sales practices taught to and used

by the Company’s employees and managers; (v) failing to timely take corrective action to reduce

and/or eliminate the illegal sales practices taught to and used by the Company’s employees and

managers; (vi) failing to revise the Company’s incentive pay structure to reduce the likely hood of

employees and managers engaging in unlawful sales practices; (vii) making and/or causing the

Company to make false and misleading statements and/or material omissions resulting in the

commencement of the Securities Class Action; (viii) allowing the Company to violate multiple

federal and state laws and regulations; (ix) failing to take appropriate remedial action when the

Board knew, or should have known, that there was pervasive misconduct at the Company;

(x) failing to act in the best interests of the Company and instead acting for their own self-interest;

and (xi) consciously causing substantial damage to the Company’s credibility, corporate image,

and goodwill.

       320.     The Officer Defendants’ actions could not have been a good faith exercise of

prudent business judgment.

       321.     The Officer Defendants had actual or constructive knowledge that the Company




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issued materially false and misleading statements and failed to correct the Company’s public

statements and representations or, in the alternative, cause the corrections to be issued by another

director or officer of Fifth Third.      The Officer Defendants had actual knowledge of the

misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

for the truth, in that The Officer Defendants failed to ascertain and to disclose such facts even

though such facts were readily available. Such material misrepresentations and omissions were

committed knowingly or recklessly.

       322.    The Officer Defendants had actual or constructive knowledge that the Company

was engaging in the practices as set forth herein, and that internal controls and procedures were

not adequately maintained and applied.

       323.    As a direct and proximate result of the Officer Defendants foregoing breaches of

his fiduciary duties, the Company has suffered and will continue to suffer significant damages, as

alleged herein. As a result of the misconduct alleged herein, the Officer Defendants are liable to

the Company.

       324.    The Officer Defendants’ misconduct – through both their actions and conscious

inaction – cannot be exculpated.

       325.    Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.

                                            COUNT IV

                   (Against Defendant Carmichael for Unjust Enrichment)

       326.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       327.    Through the wrongful course of conduct and actions complained of herein,

Defendant Carmichael was unjustly enriched at the expense of, and to the detriment to, Fifth Third.




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The wrongful conduct was continuous and resulted in ongoing harm to the Company. Defendant

Carmichael was unjustly enriched pursuant to receiving compensation and director remuneration.

       328.    Plaintiffs, as shareholders of Fifth Third, seeks restitution from Defendant

Carmichael, and seeks an order of this Court disgorging all profits, benefits, and other

compensation obtained by Defendant Carmichael from his wrongful course of conduct and

fiduciary breaches.

       329.    By reason of the foregoing, Fifth Third has sustained and continues to sustain

damages.

       330.    Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.

                                            COUNT V

     (Against the Director Defendants (Daniels, Harvey, Heminger, Hoover, Mallesch,
    McCallister, Williams, Akins, Bayh, Benitez, Blackburn, Brumback, and Burris) for
                                   Unjust Enrichment)

       331.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       332.    Through the wrongful course of conduct and actions complained of herein, the

Director Defendants were unjustly enriched at the expense of, and to the detriment to, Fifth Third.

The wrongful conduct was continuous and resulted in ongoing harm to the Company. The Director

Defendants were unjustly enriched pursuant to receiving compensation and director remuneration.

       333.    Plaintiffs, as shareholders of Fifth Third, seek restitution from the Director

Defendants, and seek an order of this Court disgorging all profits, benefits, and other compensation

obtained by the Director Defendants from their wrongful course of conduct and fiduciary breaches.

       334.    By reason of the foregoing, Fifth Third has sustained and continues to sustain

damages.




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       335.    Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.

                                           COUNT VI

       (Against the Officer Defendants (Tuzun and Forrest) for Unjust Enrichment)

       336.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       337.    Through the wrongful course of conduct and actions complained of herein, the

Officer Defendants were unjustly enriched at the expense of, and to the detriment to, Fifth Third.

The wrongful conduct was continuous and resulted in ongoing harm to the Company. The Officer

Defendants were unjustly enriched pursuant to receiving compensation and officer remuneration.

       338.    Plaintiffs, as shareholders of Fifth Third, seek restitution from the Officer

Defendants, and seek an order of this Court disgorging all profits, benefits, and other compensation

obtained by the Officer Defendants from their wrongful course of conduct and fiduciary breaches.

       339.    By reason of the foregoing, Fifth Third has sustained and continues to sustain

damages.

       340.    Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.

                                           COUNT VII

    (Against Individual Defendants for Violations of Section 14(a) of the Exchange Act)

       341.    Plaintiffs incorporate by reference and reallege each of the foregoing allegations as

though fully set forth herein.

       342.    Plaintiffs bring this case of action derivatively on behalf of the Company.

       343.    Each of the Individual Defendants authorized or oversaw the dissemination of at

least one of Fifth Third’s Proxy Statements (defined above as the 2018, 2019, and 2020 proxy

statements).




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       344.    Rules 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that

no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       345.    The Proxy Statements issued by the Board violated §14(a) of the Exchange Act and

Rule 14a-9 because the Proxy Statements contained false statements and omitted material facts

necessary to make the discussion of the Company’s business operations and internal controls not

false and misleading. Specifically, the Proxy Statements failed to disclose, inter alia, that: (i) the

Board was on notice for years of the misconduct described herein; (ii) the Company’s use of Cross-

Selling and incentives caused its employees to engage in the misconduct described herein; (iii) the

Company was aware of the misconduct as early as 2008 but neglected to design and monitor the

Company’s Cross-Selling and incentive compensation in a way that would identify and prevent

the misconduct described herein; (iv) there were material weaknesses in the Company’s internal

controls; (v) the Company was at a heightened risk of regulatory action due to the misconduct

described herein; and (vi) the Company’s earnings were at least partially a result of the misconduct

described herein and were not sustainable.

       346.    Furthermore, the Proxy Statements were false and misleading by stating that the

Company’s compensation programs were tailored to avoid risks but instead the Individual

Defendants encouraged and fostered a culture of unnecessary risk-taking while being on notice of

the misconduct. Specifically, despite the Proxy Statements claiming that the Company was

focused on avoiding excessive risk, the Company implemented aggressive incentive compensation

programs that encouraged risk-taking and rewarded employees for new accounts and the number




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of accounts that current customers had with Fifth Third Bank. During this time, the Audit

Committee was responsible for reviewing all employee complaints submitted through the

EthicsLine. As a result, the Audit Committee and the entire Board were on notice of the

misconduct described herein and failed to disclose this information.

       347.    Further, the Proxy Statements issued by the Board were false and misleading as to

the extent they contained information describing the Company’s compliance with governmental

policies and regulations. The Proxy Statements were further false and misleading as the Individual

Defendants failed to comply with the Company’s Code while representing that the application of

its terms was nonnegotiable. Moreover, the Proxy Statements were false and misleading by not

disclosing the misconduct discussed herein and the scheme to issue false and misleading

statements and/or omit material facts necessary for shareholders to make informed decisions

regarding the Company.

       348.    By reason of their fiduciary duties and through the application of reasonable care,

the Individual Defendants knew or should have known that by failing to disclose the material facts

as discussed herein, the representations and statements made in the Proxy Statements were

materially false and misleading. The misstatement or omission of material facts were vital

information necessary for reasonable shareholders, including Plaintiffs, when voting on items

contained within the Proxy Statements, including whether to support the election of Board

members, approval of executive compensation, and selection of the Company’s independent

auditor.

       349.    The false and misleading statements of the Proxy Statements caused and directly

led to the re-election of Defendants Carmichael, Akins, Benitez, Blackburn, Brumback, Burris,

Heminger, Hoover, Mallesch, McCallister, and Williams during the period of misconduct




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described herein. Further, their re-election, based on false and misleading statements, permitted

these Directors to continually abdicate their duties owed to Fifth Third, its shareholders, and

Plaintiffs.

        350.   The Company was damaged as a direct and proximate result of the dissemination

of the false and misleading Proxy Statements because the Proxy Statements contained material

misrepresentations and omissions, as alleged herein, which wasted corporate assets and prevented

shareholders from engaging in a fully informed vote for, among other things, whether to support

the election of Board members, approval of executive compensation, and selection of the

Company’s independent auditor.

        351.   Plaintiffs, on behalf of Fifth Third, have no adequate remedy at law.

                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demand judgment as follows:

        A.     Determining that this action is a proper derivative action maintainable under the

law and demand was excused;

        B.     Against all Individual Defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the Individual Defendants’ breaches of fiduciary

duties and unjust enrichment;

        C.     Directing Fifth Third to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect the

Company and its shareholders from a repeat of the damaging events described herein, including,

but not limited to, putting forward for shareholder vote resolutions for amendments to the

Company’s Bylaws or Articles of Incorporation and taking such other action as may be necessary

to place before shareholders for a vote a proposal to strengthen the Board’s supervision of



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operations and develop and implement procedures for greater shareholder input into the policies

and guidelines of the Board;

       D.      Awarding to Fifth Third restitution from the Individual Defendants, and ordering

disgorgement of all profits, benefits and other compensation obtained by the Individual

Defendants;

       E.      Awarding to Plaintiffs the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

         F.     Granting such other and further relief as the Court deems just and proper.



Dated: August 7, 2020

                                                     Respectfully submitted,


                                                     By: /s/ Kyle A. Shamberg

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